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                         EXHIBIT 1
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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION


   ALL-OPTIONS, INC.; et al.,                    )
                                                 )
                Plaintiffs,                      )
                                                 )
         v.                                      )
                                                 )   Case No. 1:21-cv-1231-JPH-MJD
   ATTORNEY GENERAL OF INDIANA,                  )
   in his official capacity, et al.,             )
                                                 )
                Defendants.                      )
                                                 )
                                                 )


                  DECLARATION OF DR. CHRISTINA FRANCIS

        I, Christina Francis, M.D., pursuant to the provisions of 28 U.S.C. § 1746, do

  hereby declare as follows:

        1.     I am at least 18 years of age and am competent to testify. I have personal

  knowledge of the statements contained in this declaration. The opinions expressed in

  this report are my own and do not represent the views of any organization with which

  I am associated.

  Professional Background

        2.     I have been a practicing board certified obstetrician and gynecologist for

  twelve years, and currently practice in Fort Wayne, Indiana. I work as an OB/GYN

  Hospitalist, which entails caring for pregnancies ranging from routine to high-risk in

  the inpatient setting. I also serve as chair of the board for the American Association
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  of Pro-Life Obstetricians and Gynecologists, a national professional organization of

  nearly 7,000 pro-life medical practitioners.

        3.     I graduated from medical school at Indiana University in 2005 and

  completed my obstetrician and gynecologist residency at St. Vincent Hospital in

  Indianapolis in 2009.

        4.     On March 31, 2021, I testified before the Indiana Senate Health

  Committee on HB 1577 (subsequently enacted into law as Public Law 218-2021). I

  spoke in favor of two aspects of the bill: the requirement that woman obtaining

  medication abortions be informed about the availability of abortion pill reversal

  (APR) and the importance of an in-person consultation with a physician before being

  given the abortive drug regimen, mifepristone and misoprostol. It is my professional

  opinion that both requirements enhance the safety and well-being of Hoosiers and

  lead to better informed medical decisions. By providing women with information

  about the availability of APR, it is expanding, not limiting their options. Part of fully

  informed consent is counseling a woman on the risks, benefits, and alternatives to

  any recommended therapy. APR represents an alternative to completing her abortion

  when a woman changes her mind after taking the first medication of the medication

  abortion regimen. Also, by requiring an in person visit with a physician prior to being

  given a medication abortion, the state of Indiana is ensuring that women are able to

  receive full counseling, free of coercion by someone else in her life, as well as having

  her gestational age and pregnancy location accurately assessed. If women undergo a

  medication abortion beyond the FDA limit of 10 weeks gestation or with an ectopic



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  pregnancy, the results can be devastating for her due to serious complications or

  death.

           5.    I volunteered in 2015 to provide Abortion Pill Reversal (APR) through

  the Abortion Pill Reversal Network. The APR network is a network of medical

  practitioners who are readily available to administer the APR protocol to women who

  regret their abortion decision and desire to save their unborn child. Women are

  connected to those practitioners through the network hotline, which is manned 24/7

  by a trained nurse. In fall 2015, I assisted a patient who began an abortion at a

  Planned Parenthood clinic and then immediately regretted her decision. She knew

  the very minute she left the clinic that she made the wrong choice. She found out

  about APR by google web search. The patient was connected to me through the APR

  hotline. By administering progesterone according to the APR protocol (explained in

  more detail below), that patient was able to successfully continue her pregnancy and

  delivered a healthy baby with no medical issues in the spring of 2016.

  Chemical Abortions and How They Can Be Reversed

           6.    Chemical abortions typically involve a two-drug regimen: mifepristone

  followed by misoprostol. Mifepristone is a progesterone receptor antagonist, which

  inhibits the effect of progesterone, a crucial hormone for normal fetal development.

  The mifepristone drug binds with high affinity to progesterone receptors,1 thereby

  blocking the action of progesterone and resulting in fetal death, in most cases.



  1
   See C.H. Spilman et al., Progestin and Antiprogestin Effects on Progesterone Receptor
  Transformation, 24 j. Steroid Biochem. 383, 383 (1986).


                                                   3
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  Misoprostol, a prostaglandin analogue, is then given 24–48 hours after mifepristone.

  It leads to uterine contractions to expel the fetus and gestational sac. Chemical

  abortions of this type are approved by the FDA for use through the 10th week of

  gestation.

         7.     Abortion pill reversal (APR), first performed in 2011, is based on the

  scientific principle of reversible competitive inhibition. APR specifically seeks to

  displace mifepristone from progesterone receptors using natural progesterone, thus

  counteracting the effects of mifepristone. Because mifepristone and progesterone

  compete for the same receptors, high amounts of substrate (in this case, progesterone)

  can displace the introduced competitive inhibitors (mifepristone) and therefore allow

  for normal placental development and growth of the fetus.

         8.     Counteracting the effects of a competitive inhibitor by introducing

  higher doses of substrate is not a new idea. Similar techniques are used in other

  contexts. For example, in chemotherapy, a “rescue” treatment of leucovorin and

  methotrexate is introduced to the body where the leucovorin “out competes” the

  methotrexate to prevent damage to non-cancer cells.

         9.     APR is suitable for pregnant women who have taken mifepristone but

  who have not yet taken the second drug, misoprostol. For women who have begun

  APR therapy and have a viable pregnancy, progesterone is continued through the end

  of the first trimester.

         10.    Women typically access APR treatment by calling the hotline number,

  which is staffed around the clock by nurses who conduct an initial screening for the



                                            4
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  appropriateness of APR. If the patient is deemed suitable for APR and desires to

  proceed, the nurse connects her to a local APR provider.

  APR is Effective in Reversing Chemical Abortions

          11.     Empirical evidence suggests that APR is effective in reversing the

  effects of mifepristone. In the largest study to date, Dr. George Delgado and Dr. Mary

  Davenport examined 754 cases where women attempted reversal of chemical

  abortion. The study found a fetal survival rate following APR of 48%, with rates rising

  to 64% and 68% respectively for intramuscular and oral administration of

  progesterone.2 The oral regimen involved women receiving a 400-milligram

  progesterone bid for three days, followed by 400 milligrams daily.

          12.     When considering the context where women did not take misoprostol or

  progesterone after taking mifepristone, a 2017 study by Dr. Davenport found that

  ongoing viable pregnancies—not merely incomplete abortions—had a fetal survival

  rate of 10–23%.3 This was used as a historical control group for the Delgado and

  Davenport 2018 study on APR, where it was shown that, so long as the progesterone

  is taken within 72 hours of the administration of mifepristone, the chances of fetal

  survival increases from 23% to as high as 68% (with the oral progesterone regimen).

  This result is consistent with the pharmacokinetics of mifepristone—the drug does

  not immediately kill the fetus, instead starving it of nutrition over the course of days.

  It was also found that survival rates increased with gestational age.


  2
    George Delgado et al., A Case Series Detailing the Successful Reversal of the Effects of Mifepristone
  Using Progesterone, 33 Issues L. & Med. 21, 26 (2018).
  3
    Mary L. Davenport et al., Embryo Survival After Mifepristone: A Systematic Review of the
  Literature, 32 Issues L. & Med. 3, 3(2018).

                                                     5
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         13.    Delgado’s findings are well-explained by biological theory. The principle

  behind these findings—that the effects of a competitive inhibitor can be undone by

  greater amounts of substrate—is firmly established.

         14.    Pro-choice experts agree that Delgado’s theory is sound. Dr. Harvey

  Kliman of the Yale School of Medicine, who has supported pro-choice causes, admits

  that mifepristone reversal makes “biological sense.”4 Accordingly, he said that if one

  of his daughters mistakenly ingested mifepristone, he would recommend 200

  milligrams of progesterone three times a day until mifepristone is metabolized.5

         15.    The latest version of the Delgado study clearly states that “[t]he study

  was reviewed and approved by an institutional review board.” Although the Delgado

  study was briefly withdrawn over a previous granting of institutional review board

  exemption, the article has since been reviewed and restored. Claims that the Delgado

  study has been withdrawn are therefore untrue.

         16.    There are other studies that support the fact that mifepristone is

  reversible. Mifepristone was shown to be reversible in the manufacturer’s studies

  during its development.6        In a 1989 study by Yamambe,7 scientists separated

  pregnant rats into three groups. The first group received no drugs; the second group




  4
    Ruth Graham, A New Front in the War Over Reproductive Rights: ‘Abortion Pill Reversal,’ N.Y.
  Times Mag. (July 18, 2017), https://www.nytimes.com/2017/07/18/magazine/a-new-front-in-the-war-
  over-reproductive-rights-abortion-pill-reversal.html.
  5
    Id.
  6
   Etienne-Emile Baulieu & Sheldon J. Segal, The Antiprogestin Steroid RU486
  and Human Fertility Control 91 Figure 3 (1985).
  7
   S. Yamabe (山辺晋吾) et al., The Effect of RU486 and Progesterone on Luteal Function During
  Pregnancy, 65 Nihon Naibunpi Gakkai Zasshi 497 (1989).


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  received mifepristone; the third group received mifepristone followed by natural

  progesterone. Of the no-drug group, 100% of the animals delivered live offspring. The

  mifepristone group had much lower live birth rate, with only 33% delivering live

  offspring. However, in the group that received progesterone after mifepristone, 100%

  delivered live offspring. Mifepristone binding to another hormonal receptor,

  glucocorticoid receptors, has also been shown to be reversible by the addition of

  glucocorticoids.8

  APR is Safe for Pregnant Women and Fetuses

         17.     There is no documented risk that mifepristone exposure or APR leads to

  increased incidence of birth defects. Although abortion providers sometimes tell

  women that not completing the two-drug regimen could lead to birth defects, such

  claims are unsupported. Multiple studies have shown, to the contrary, that neither

  progesterone nor mifepristone are associated with an increased risk of birth defects.

         18.     A study published in the BJOG, an international journal of obstetrics

  and gynecologists, found that the incidence of birth defects in children exposed to

  mifepristone in the first trimester was equivalent to the incidence in the general

  population.9 Delgado’s 2018 study similarly found no increased risk of birth defect.10

  Further, according to the package insert for mifepristone, no teratogenic effects have


  8
   JI Webster & EM Sternberg, Role of the hypothalamic-pituitary-adrenal axis,
  glucocorticoids and glucocorticoid receptors in toxic sequelae of exposure to bacterial
  and viral products, 181 J. ENDOCRINOLOGY 212 (2004).

  9
    N. Bernard et al., Continuation of Pregnancy After First-Trimester Exposure to Mifepristone: An
  Observational Prospective Study, 120 BJOG 568 (2013).
  10
     See Delgado, supra note 2, at 26.

                                                   7
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  been noted in experiments with rats and mice.11 A birth defect—Mobius syndrome—

  is known to occur when fetuses are exposed to misoprostol (the second drug in the

  two-drug regimen),12 but this is distinct from and unrelated to mifepristone exposure.

         19.     Progesterone is FDA-approved for use during pregnancy. Natural

  progesterone has been safely used during pregnancy for over 50 years, notably to

  support IVF pregnancies and in women who have a history of pregnancy loss.

         20.     In 1999, the FDA conducted a comprehensive review of relevant

  scientific literature and concluded that there was no increased risk of birth defects

  associated with the use of progesterone and that “use of [progesterone] for luteal

  phase support in IVF cycles had become routine and that the agency had itself

  recently approved a [progesterone] gel for use in infertile women under treatment

  with ART.”13

         21.     The American Society for Reproductive Medicine (ASRM) concluded in

  a bulletin on progesterone supplementation during pregnancy: “The weight of

  available evidence indicates that the most common forms of [progesterone]

  supplementation during early pregnancy pose no significant risk to mother or

  fetus.”14




  11
     FDA, MIFEPREX Prescribing Information, at 9 (2000),
  https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
  12
     A.L. Pastuszak, Use of Misoprostol During Pregnancy and Möbius' Syndrome in Infants, 338 N.
  Eng. J. Med. 1881, 1882–83 (1998).
  13
     Prac. Comm. of the Am. Soc. for Reprod. Med., Progesterone Supplementation During the Luteal
  Phase and in Early Pregnancy in the Treatment of Infertility: an Educational Bulletin, 89 Fertility &
  Sterility 789, 791 (2008).
  14
     Id.

                                                    8
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          22.    Although the FDA has yet to approve the use of progesterone in the

   specific context of APR, giving progesterone to women in the first trimester of

   pregnancy is not experimental and is backed by more than 50 years of clinical

   experience.

   Leading Criticisms of APR are Unfounded

           23.   Critics focus their fire on the lack of randomized control trial (RCT)

   studies on mifepristone reversal, but they overlook the fact that such studies would

   be unethical. It would be contrary to medical ethics to administer a placebo to a

   patient seeking to reverse the feticidal effects of mifepristone, when we know through

   clinical experience and basic pharmacology studies that progesterone is safe and

   effective in this scenario.

           24.   Where an RCT is not possible for ethical or other reasons, historical

   control groups, as were used in Delgado’s study, are an acceptable alternative.

           25.   Tellingly, none of the trials relied on in the approval of mifepristone

   were RCTs—they either used a historical control group or were dose comparison

   studies. As the FDA’s statistical review of the application for mifepristone approval

   stated: “In the absence of a concurrent control group in each of these studies, it is a

   matter of clinical judgment whether or not the sponsor’s proposed therapeutic

   regimen is . . . viable.”15




   15
     FDA, Statistical Review and Evaluation of Mifepristone 7–8 (1996) quoted in Byron C. Calhoun &
   Donna J. Harrison, Challenges to the FDA Approval of Mifepristone, 38 Annals of Pharmacotherapy
   163, 164 (2004).

                                                  9
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           26.    The one attempted RCT study on APR, conducted by Mitchell Creinin et

   al., was stopped at an early stage.16 Creinin, a well-known abortion provider from the

   pro-abortion Bixby Center at UCSF, conducted an experiment where women were

   given mifepristone, followed by either progesterone or a placebo, and not given

   misoprostol. They were scheduled to follow up two weeks later for an ultrasound,

   where investigators would determine whether they had an ongoing, viable pregnancy.

   If they had an ongoing pregnancy, the fetus would then be surgically aborted.

           27.    There were five women in the final progesterone treatment group and

   five in the final control group. The trial was halted after three women required

   emergency room visits.17 Of these three women, only one woman was from the

   progesterone treatment group, and she was found to be completing her abortion and

   required no treatment.18 The other two women were from the placebo group—both

   presented with heavy vaginal bleeding and required emergency dilation and

   curettage.19 One of the two received a blood transfusion. Therefore, the safety

   concerns that led to the end of the study are not actually related to the administration

   of progesterone treatment but rather the lack thereof.

           28.    APR opponents state that this study disproves APR, the Creinin study

   actually supports the effectiveness of APR. In the placebo group, two out of five




   16
      Mitchell D. Creinin et al., Mifepristone Antagonization with Progesterone to Prevent Medical
   Abortion: A Randomized Controlled Trial, 135 Obstetrics & Gynecology 158, 158 (2020).
   17
      Id. at 160–61.
   18
      Id. at 160.
   19
      Id. at 160–61.

                                                    10
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   women had ongoing pregnancy (40% survival).20 In the progesterone treatment

   group, however, four out of five women had ongoing pregnancies (80% survival).21

           29.    Also, it is not surprising that the American College of Obstetricians and

   Gynecologists (ACOG) has not endorsed APR. ACOG has a long history of promoting

   the agenda of the abortion industry22 and has never supported a single abortion safety

   regulation. Even the most basic safety restriction, like requiring a physician who

   performs surgical abortions to have the ability to admit patients with complications

   to get additional care, has not been supported by ACOG.

           30.    ACOG has chosen to ignore the wealth of evidence that progesterone can

   be used to block the effects of mifepristone and help women who regret beginning an

   abortion have a chance at saving their child.

           31.    Indeed, why would opponents to APR choose to limit women’s options

   and hide this information from them? Telling a patient that this is available is not

   forcing her to do it. It is, in fact, a part of truly informed consent. It is a well-accepted

   concept in the practice of medicine that informed consent involves discussing with

   the patient the risks, benefits and alternatives to a given procedure




   20
      Id. at 160.
   21
      Id.
   22
      ACOG has filed amicus briefs on behalf of pro-choice causes. See, e.g., Brief of Amicus Curiae Am.
   Assoc. of Pro-Life Obstetricians and Gynecologists in Support of Rebekah Gee, Secretary, Louisiana
   Dep’t. of Health and Hosps., June Med. Services L.L.C. v. Gee, 905 F.3d 787 (5th Cir. 2018).

                                                    11
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     or intervention. APR is an al ternative to a woman completing a medication abor tion

     if h e chan ges h er mind mid-procedure. In saying th at this should not be discussed

     wi th women , ACOG is opposing women who ar e seeking an abortion receiving fully

     informed consen t.

             32.   This over wh elming empirical evidence demonstr ates th at not only is

     APR scientifically feasible but has also been proven through clinical experience and

      scientific t esting. Accordingly, it would be unethical to withhold this life-saving

      t reatment from women who ar e seeking it for purposes of r ever sing an abortion.



             I declar e under penalty of perjury that the fore going is true and correct.

       Execu ted by me on June 10, 2021, in Fort Wayne, Indiana.




                                                12
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                                      Christina Francis, MD
                                       1018 Kinnaird Ave.
                                      Fort Wayne, IN 46807
                                          260-443-6207
                                      cmfranci@gmail.com


   EMPLOYMENT

   Parkview Physicians Group OB/GYN
   Fort Wayne, IN
   August 2014 to present
   OB/GYN Hospitalist (since July 2016, worked as OB/GYN generalist prior to that)
   Member of Executive Committee May 2015 to December 2016
   Duties include: Primary in-house OB/GYN for two busy labor and delivery units (approximately
   4000 deliveries/year) providing emergent OB services as well as delivery coverage for
   unattached patients and PPG OB/GYN patients in the inpatient setting. Managing and delivering
   all high-risk antepartum inpatients that are admitted under our Maternal Fetal Medicine
   physicians. Managing transfers of high-risk antepartum patients from outlying community
   hospitals. Coverage of inpatient and ER gynecologic consults.

   Global Outreach, International
   Tupelo, MS
   September 2013 to July 2014
   Short-term medical missionary at A.I.C. Kapsowar Mission Hospital in Kapsowar, Kenya

   Christie Clinic - OB/GYN
   Champaign, IL
   August 2011 to June 2013
   Duties included: seeing variety of patients in the office, including both OB and Gyn patients,
   covering laboring patients and deliveries, supervising 2 nurse midwives, performance off
   gynecologic surgery, rotating evening/weekend call.

   A.I.C. Kapsowar Mission Hospital (Employer - Samaritan’s Purse) – OB/GYN
   Kapsowar, Kenya
   August 2009 to June 2011
   Duties included: Managing maternity ward (approximately 1200 deliveries/year), performing all
   operative vaginal deliveries and Cesarean sections during daytime hours and rotating
   evening/weekend call, supervising/teaching nursing students; Evaluation of all gynecologic
   outpatients and complicated antenatal clients; Performing all gynecologic surgeries; Organizing
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   and implementing mobile outreach clinics to surrounding areas; Teaching visiting medical
   students; Performing neonatal resuscitation when required.


   BOARD CERTIFICATION

   OB/GYN Written Board Exam – passed June 2009
   OB/GYN Oral Board Exam - passed December 2012
   American Board of OB/GYN maintenance of certification maintained since 2013

   EDUCATION

   Ball State University – BS Chemistry
   August 1996 – May 2000

   Indiana University School of Medicine – MD
   August 2001- May 2005

   OB/GYN Residency
   St. Vincent Hospital, Indianapolis, Indiana
   July 2005 – June 2009

   PROFESSIONAL ACTIVITIES

   Volunteer – August 2000 – July 2001
   Spent one year in Romania working with orphans. Responsibilities included teaching English
   and computers as well as being a mentor to teenage girls.

   Volunteer Physician – January 2005/2007
   Yangon, Myanmar – provided medical care to children and adults in a small village

   Volunteer Physician – November 2007
   CURE International Hospital, Kabul, Afghanistan

   Volunteer Physician – October 2008
   Ran maternity ward at a mission hospital in Kapsowar, Kenya

   Student Coordinator – May 2008 to May 2009
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   St. Vincent Hospital, Indianapolis, Indiana. Coordinate the many medical and physician
   assistant students that we have rotating with us and assure that they get a full OB/GYN
   experience. Arrange student placements and address their concerns.

   Peer Review Committee – June 2008 to June 2009
   Review cases in our hospital deemed to be potential departures from standard of care


   RESEARCH

   Timing of Prophylactic Antibiotics for Cesarean Section: A prospective, randomized
   controlled trial. Published in Journal of Perinatology.

   Safety and Efficacy of Intrathecal Narcotic Analgesia. Poster presentation at SGO March
   2006.

   AWARDS

   Best Resident Research Project – 2007, 2008

   OB/GYN Medical Student Teaching Award – 2005




   PROFESSIONAL SOCIETIES

   American Association of Pro-Life Obstetricians and Gynecologists
   Member since 2013
   Board Member since February 2015
   Current Chair of the Board (since 2016)
   Advocacy Committee Chair since December 2020
   Membership Committee Co-Chair since January 2021

   Christian Medical and Dental Association – member since 2006

   PUBLISHED ARTICLES
   Wall Street Journal, March 2020 - https://www.wsj.com/articles/the-ob-gyns-who-play-politics-
   with-womens-lives-11583279360
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   USA Today, March 2021 - https://www.usatoday.com/story/opinion/voices/2021/03/06/pro-life-
   abortion-fetal-abnormlity-statistics-column/4579657001/
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                      PRACTICE BULLETIN 6
                 EVIDENCE DIRECTING PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS
Number 6 November 16, 2019



The Reversal of the Effects of Mifepristone by Progesterone
Some women who take mifepristone, a progesterone receptor antagonist, in order to terminate their
pregnancies, change their minds and desire to stop the medical abortion process before taking the
second component, misoprostol. The purpose of this document is to summarize the medical literature
regarding the use of progesterone for competitive reversal of the effects of mifepristone at the level of
the progesterone receptor, and the application of this basic principle of toxicology in women who
change their mind about abortion after taking mifepristone.

Background                                          By blocking progesterone receptors, mifepristone
                                                    leads to the separation of the decidua basalis from
Mifepristone abortion background
                                                    the trophoblast. This separation is the primary
Medical induced abortion utilizing mifepristone     embryocidal and feticidal effect of
and misoprostol has been available in the United    mifepristone.4,5,6 Additionally, mifepristone causes
States since 2000. In 2014, 31% of non-hospital     softening and dilatation of the cervix. 7 It also leads
induced abortions were medical induced              to myometrial contractions, increased myometrial
abortions.1 The 2016 FDA protocol for the           sensitivity to prostaglandins 8,9 and the disinhibition
mifepristone abortion regimen involves the          of prostaglandin synthesis by the myometrium. 10
administration of mifepristone 200 mg orally as a   Progesterone has an autoregulatory effect on
single dose, which leads to embryonic or fetal      progesterone synthesis by the corpus luteum.
demise, followed 24-48 hours later by misoprostol Mifepristone blockade of progesterone receptors
800 mcg buccally as a single dose, which            within the corpus luteum itself decreases
stimulates myometrial contractions. The protocol is progesterone secretion by the corpus luteum. 11
approved up to 70 days after the first day of the   Mifepristone blockade of progesterone receptors is
last menstrual period. 2 Misoprostol is part of the a reversible competitive inhibition. 12 Some
protocol because mifepristone alone has an          women who take mifepristone, a progesterone
incomplete abortion rate of 20-40%, defined as      receptor antagonist, in order to terminate their
incomplete expulsion of the uterine contents.3      pregnancies, change their minds and desire to stop



Committee on Practice Bulletins. This document was developed by the Practice Bulletin Committee to provide evidence for
pro-life practice. Because of the gravity of issues addressed by AAPLOG, variation in practice regarding matters of fetal life
should be undertaken only after serious consideration of the literature cited by this document.
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the medical abortion process before taking the      It binds to the PR about twice as avidly as
second component, misoprostol. 13                   progesterone.16 Mifepristone is an orally
                                                    active compound with a nearly 70% absorption
Evidence for Efficacy of Progesterone Reversal rate, but its bioavailability is reduced to
of Mifepristone Receptor Blockade                   approximately 40% because of the first-pass
                                                    effect.17 It is absorbed better with food than on an
There is pharmacological, animal and human data
                                                    empty stomach. After metabolism by the CYP3A4
supporting the effects of mifepristone blockade of
                                                    enzyme, three metabolites retain biologic activity.
progesterone receptors in women who wish to
                                                    The half-life of mifepristone is about 18-25 hours.
provide an increased chance of embryo survival
                                                    Mifepristone and its metabolites can be measured
after ingestion of mifepristone.
                                                    up to 72 hours after an ingested dose. 18,19
                                                    Progesterone’s half-life is approximately 25-55
1) Biological Feasibility.
                                                    hours.20,21
It is a fundamental principle of biochemistry that
competitive inhibitors (like mifepristone) that     The reversibility of mifepristone blockade of
replace and block out substrates (like natural      glucocorticoid nuclear receptors (GR) was clearly
progesterone) may be thwarted if there is enough    demonstrated by National Institutes of Health
substrate around. “The inhibitor creates a          (NIH) researchers investigating mifepristone
competing equilibrium to that of the substrate (S), reversible binding of the glucocorticoid receptor.
removing a fraction of the enzyme to an inactive    Sternberg reviewed multiple studies showing that
form. Adding more substrate will yield more of the the blockade of mifepristone at the glucocorticoid
active enzyme substrate (ES) form.”14 This basic    receptor is reversible by administration of
medical principle is also the foundation of         additional glucocorticoids.22,23
leucovorin “rescue” after treatment of cancer with
methotrexate. In the case of leucovorin “rescue”    The reversibility of mifepristone binding to
leucovorin (also known as the vitamin “folinic      progesterone receptors (PR) is supported by the
acid”) out-competes the inhibitor, which is         basic pharmacological research conducted by the
methotrexate.15                                     manufacturer.24 It shows the rate at which RU486
                                                      could be removed from the progesterone receptor,
Mifepristone was studied and developed as an          clearly demonstrating that mifepristone’s blockade
abortifacient precisely because it antagonizes        of progesterone receptors is reversible—not
progesterone, competing for the progesterone          permanent—and that high concentrations of
receptor. It is well known that, in a biological      progesterone will reverse the binding of
system, increasing the concentration of a ligand      mifepristone at the progesterone receptor.
will result in that molecule preferentially binding
to the receptor compared to other molecules with      3) Mifepristone abortion reversibility in animal
similar receptor affinity.                               models
                                                     Investigation of progesterone reversal of
2) Mifepristone Pharmacology
                                                     mifepristone abortion in a pregnant animal model
Mifepristone is a reversible, competitive antagonist demonstrated clearly that mifepristone blockade of
of progesterone at the progesterone receptor (PR).


2                                                                             Practice Bulletin No. 6
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progesterone receptors can be overcome by the          Grossman 2015 reviewed survival rate after
administration of additional natural progesterone.25   mifepristone alone and claimed a survival rate after
In that study, Yamabe separated pregnant rats into     mifepristone alone at 40%.27 However, this review
three groups. The first group received no drugs, the   included studies which did not actually document
second group was given mifepristone, and the third     embryo survival, but used instead numbers of
group was given mifepristone followed by natural       “incomplete abortions” (i.e. retained products of
progesterone. 100% of the no-drug group delivered      conception). Inclusion of studies which did not
live offspring. Only 33.3% of the mifepristone-        document a living fetus results in falsely elevating
only group delivered live offspring. In the            the survival rate after mifepristone alone. Thus
mifepristone and then progesterone group, 100%         the Grossman study cannot be relied upon to give
delivered live offspring.                              an estimate of actual living embryo survival, but
                                                       rather provides a rate of “mifepristone failures”,
Furthermore, the mifepristone group had                some of which include embryo survival, and others
characteristic mifepristone induced changes in the     which include simply retained products of
myometrium and ovaries; the group that received        conception.
the mifepristone plus progesterone had no such
changes.                                               5) Human data on embryo survival after
                                                          mifepristone followed by natural progesterone
Yamabe also examined the clearance rate of
mifepristone. In the rats given mifepristone alone,    2012 Delgado
the level of progesterone in the blood began to        Delgado 201228 reported a small case series of six
decrease at 48 hours and continued to decrease at      women who changed their minds about abortion
72 hours. In contrast, where mifepristone was          after taking mifepristone, and sought help to
followed by progesterone the progesterone levels       enhance the chances that their embryo would
were the same at 72 hours as the control group         survive the attempted abortion with mifepristone.
which received no mifepristone.                        Of the six women given natural progesterone, four
                                                       of those women went on to complete delivery of
4) Human data on embryo survival after                 live born infants. No malformations were observed
   mifepristone alone.                                 in the children.
A systematic review of documented embryo
survival by ultrasound after mifepristone alone was    2016 Garrett
performed by analyzing published research during       In a small case series from Australia, Garrett
the time before prostaglandins were added to the       reported the results of three women who attempted
mifepristone regimen. Davenport conducted a            to increase their chances of embryo survival after
systematic review of published studies that met        ingesting mifepristone by using natural
inclusion criteria of a documented living embryo       progesterone. Two out of these three women who
after mifepristone ingestion without subsequent        attempted reversal with progesterone delivered
misoprostol or other prostaglandin. The analysis       live, healthy neonates.29
concluded that a documented living embryo or
fetus after mifepristone alone was at most 23%. 26


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2018 Delgado                                          study, which found that in the rats given
In a much larger 2018 retrospective chart review,     mifepristone alone, the level of progesterone in the
Delgado reviewed the records of 754 patients who      blood began to decrease at 48 hours and continued
decided to attempt to reverse the medical abortion    to decrease at 72 hours. In contrast, where
process after taking mifepristone but before taking   mifepristone was followed by progesterone the
misoprostol, by administration of natural             progesterone levels were the same at 72 hours as
progesterone within 72 hours of the mifepristone      the group which had not received anything.
ingestion. Two-hundred fifty-seven births after
reversal were found. An historic control rate of      Safety analysis revealed no increase of birth
25% embryo or fetal survival after mifepristone       defects when compared to the general population
exposure, if no treatment was offered, was used as    which is consistent with other studies which have
the comparator. The overall reversal rate was 48%     found no increase in malformation rate over the
(p<0.001). With the high dose oral protocol, the      general population in infants who are born after
reversal rate was 68% (p<0.001); the rate with the    exposure to mifepristone in utero. 31,32
injection protocols was 64% (p<0.001).30              In addition, Dr. Delgado found that the preterm
                                                      delivery rate was 2.7%, as compared to the 10% of
As a historical comparator, Delgado used a 25%        preterm births in the general population.
survival rate with mifepristone alone, which was
actually higher than the maximum survival rate        2019 Creinin
determined by the historical review by Davenport.     A recent study by Creinin,33 which was halted for
Despite comparing with a higher survival rate,        safety considerations, found a similar survival rate
Delgado demonstrated a statistically significant      after mifepristone plus progesterone as the original
survival over mifepristone alone.                     small case series of Delgado in 2012.

Dr. Delgado and his co-authors also analyzed their    In the control arm of the study, six women were
results by gestational age at the time of reversal    given mifepristone plus placebo. The results were
attempt and found that the success rate increased     compared to six women who received mifepristone
with increasing gestational age.                      plus progesterone in the regimen recommended by
                                                      Delgado. One woman in each arm withdrew. Of
In addition, Dr. Delgado and his co-authors           the remaining five women in each arm, four of the
analyzed the interval of time between                 five women who received progesterone (80%) had
mifepristone injection and progesterone               living fetuses at the 2 week follow up as
administration and found that success rates were      documented by ultrasound prior to their surgical
the same as long so the progesterone was given        abortion. 1 of the 5 (20%) women who received
within 72 hours of the use of mifepristone. This is   progesterone self-referred to the ER for heavy
consistent with what we know about mifepristone,      bleeding but was found to have completely passed
which is that it takes several days to act and        the fetus and thus she did not require a D&C as the
thus does not kill the embryo immediately. This       bleeding had stopped after passage of tissue. No
finding is also consistent with the Yamabe            further treatment was required.




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In contrast, in the placebo group which received      In summary, using natural progesterone to counter
only mifepristone, 2 of the 5 women (40%) in the      the effects of ingested mifepristone is logical, and
mifepristone alone group had severe hemorrhage        founded on basic principles of biochemistry,
requiring emergency D&C and one of those              animal studies, and analysis of human experience.
women also required a blood transfusion. It was       Given the long history of progesterone use in
due to the severe hemorrhage in the                   pregnancy, the established safety of
mifepristone alone group, not the progesterone        progesterone use in early pregnancy for both the
group, that the study was halted. Of note, 2 of       mother and her fetus in IVF pregnancies, the
the 5 women (40%) in the mifepristone alone arm       known ability of progesterone to counteract the
had ongoing pregnancies at follow up.                 abortive effects of mifepristone in animal
                                                      models, and the actual evidence in humans of the
Evidence for the safety of natural progesterone efficacy and safety of abortion pill reversal, it is
treatment in pregnancy.                               reasonable to offer this treatment to women who
                                                      desire to give their fetus increased chances for
Natural progesterone has routinely been given to
                                                      survival after ingestion of mifepristone.
women during pregnancy for over 50 years and is
in fact standard of care after in-vitro fertilization
(IVF). The IVF industry has concluded that there is
no increased risk from natural progesterone           Clinical Considerations and
supplementation in early pregnancy.34,35 Natural      Recommendations
progesterone is commonly used to supplement
                                                          Q Who is a candidate for Abortion Pill
hormonal deficiency in at-risk early pregnancies.36
                                                              Reversal attempt?
Reported association of artificial progesterone like   Mifepristone reversal with progesterone is
compounds (progestins) with hypospadias                indicated in a woman who has an intrauterine
occurring in the male infants born to women who        pregnancy, has taken mifepristone but not
used progestins during pregnancy do not apply to       misoprostol and desires to halt the medical
natural progesterone, which has a long and             abortion process.
demonstrated safety record in pregnancy. There is
no evidence after decades of use for luteal support       Q Who is not a candidate for Abortion Pill
in IVF that natural progesterone has ever been              Reversal attempt?
shown to increase the risk of birth defects.           Mifepristone reversal with progesterone is
                                                       contraindicated in a woman with ectopic
Further reassurance is derived from the large          pregnancy, nonviable embryo or fetus, septic
retrospective review of Delgado which showed no        abortion, hemodynamic compromise or allergy to
increased risk of birth defects in 257 births after    progesterone. Oral micronized progesterone in
abortion pill reversal,37 and in the two studies       peanut oil is contraindicated in women with peanut
demonstrating no increase in malformation rate in      allergy, unless cleared by an allergist.
live births after mifepristone without
progesterone.38,39




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Summary of Recommendations and
                                                       2. Intramuscular Protocol
Conclusion
                                                       Progesterone 200 mg intramuscular as soon as
The following recommendations are based on good possible and continued at a dose of 200 mg
and consistent scientific evidence (Level A):          intramuscular once a day on days two and three,
                                                       then every other day for a total of seven injections.
Some women change their minds after starting the Some clinicians may choose to continue
mifepristone abortion process and wish to reverse      intramuscular treatment longer since this
the effects of mifepristone to stop the medical
                                                       recommendation is based on relatively small
abortion. The current research suggests that using     numbers.(11)
progesterone to counter the effects of mifepristone
and stop the abortion process is both safe and         A sonogram should be obtained as soon as possible
effective. Since there is no alternative treatment for to confirm intrauterine location, viability and
women who change their minds, it is reasonable to
                                                       gestational age. If ultrasonography is not
offer this life-saving and life-changing treatment to immediately available, treatment should not be
women who desire to increase the chances of            delayed unless there is suspicion of an ectopic
pregnancy survival.                                    pregnancy, septic abortion or other complication
                                                               that requires immediate gynecologic attention in a
Utilizing the data from the 2018 Delgado study,
                                                               hospital or similar setting.
two protocols can be recommended for women
who change their minds after taking mifepristone
and want to halt the medical abortion process.(11)
                                                               References
1. High Dose Oral Protocol
Progesterone micronized 200 mg capsule two by                  The MEDLINE database, bibliographies of relevant
                                                               guidelines, and AAPLOG’s internal sources were used to
mouth as soon as possible and continued at a dose
                                                               compile this document with citations from 1985 to the
of 200 mg capsule two by mouth twice a day for
                                                               publication date. Preference was given to work in English, to
three days, followed by 200 mg capsule two by
                                                               original research, and to systematic reviews. When high-
mouth at bedtime until the end of the first
                                                               quality evidence was unavailable, opinions from members of
trimester.(11) Oral progesterone should be taken               AAPLOG were sought.
with food to improve absorption.



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6                                                                                            Practice Bulletin No. 6
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                                                                                      INTERIM UPDATE




    ACOG PRACTICE BULLETIN
                   Clinical Management Guidelines for Obstetrician–Gynecologists
  NUMBER 200                                                        (Replaces Practice Bulletin Number 150, May 2015)

  Committee on Practice Bulletins—Gynecology. This Practice Bulletin was developed by the ACOG Committee on Practice
  Bulletins—Gynecology in collaboration with Sarah Prager, MD; Vanessa K. Dalton, MD, MPH; and Rebecca H. Allen, MD, MPH.

  INTERIM UPDATE: This Practice Bulletin is updated as highlighted to reflect recent evidence regarding the use of mife-
  pristone combined with misoprostol for medical management of early pregnancy loss. This Practice Bulletin also includes
  limited, focused updates to align with Practice Bulletin No. 181, Prevention of Rh D Alloimmunization.



  Early Pregnancy Loss
  Early pregnancy loss, or loss of an intrauterine pregnancy within the first trimester, is encountered commonly in
  clinical practice. Obstetricians and gynecologists should understand the use of various diagnostic tools to differentiate
  between viable and nonviable pregnancies and offer the full range of therapeutic options to patients, including
  expectant, medical, and surgical management. The purpose of this Practice Bulletin is to review diagnostic approaches
  and describe options for the management of early pregnancy loss.

                                                                maternal age and a prior early pregnancy loss (7, 8).
  Background                                                    The frequency of clinically recognized early pregnancy
  Definition                                                    loss for women aged 20–30 years is 9–17%, and this
  Early pregnancy loss is defined as a nonviable, intrauter-    rate increases sharply from 20% at age 35 years to 40%
  ine pregnancy with either an empty gestational sac or         at age 40 years and 80% at age 45 years (7). Discussion
  a gestational sac containing an embryo or fetus without       of the many risk factors thought to be associated with
  fetal heart activity within the first 12 6/7 weeks of ges-    early pregnancy loss is beyond the scope of this docu-
  tation (1). In the first trimester, the terms miscarriage,    ment and is covered in more detail in other publications
  spontaneous abortion, and early pregnancy loss are used       (6, 7).
  interchangeably, and there is no consensus on terminol-
  ogy in the literature. However, early pregnancy loss is the   Clinical Considerations
  term that will be used in this Practice Bulletin.             and Recommendations
  Incidence                                                     < What findings can be used to confirm a diagnosis of
  Early pregnancy loss is common, occurring in 10% of all           early pregnancy loss?
  clinically recognized pregnancies (2–4). Approximately
                                                                Common symptoms of early pregnancy loss, such as
  80% of all cases of pregnancy loss occur within the first
                                                                vaginal bleeding and uterine cramping, also are common
  trimester (2, 3).
                                                                in normal gestation, ectopic pregnancy, and molar preg-
                                                                nancy. Before initiating treatment, it is important to
  Etiology and Risk Factors                                     distinguish early pregnancy loss from other early pregnancy
  Approximately 50% of all cases of early pregnancy loss        complications. Treatment of an early pregnancy loss before
  are due to fetal chromosomal abnormalities (5, 6). The        confirmed diagnosis can have detrimental consequences,
  most common risk factors identified among women who           including interruption of a normal pregnancy, pregnancy
  have experienced early pregnancy loss are advanced            complications, or birth defects (9). Therefore, a thorough



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  evaluation is needed to make a definitive diagnosis. In         are considerably more conservative than past recommen-
  combination with a thorough medical history and physical        dations and also have stricter cutoffs than the studies on
  examination, ultrasonography and serum b-hCG testing            which they are based (14) (Table 1). The authors of the
  can be helpful in making a highly certain diagnosis.            guidelines report that the stricter cutoffs are needed to
       Ultrasonography, if available, is the preferred modality   account for interobserver variability; however, this
  to verify the presence of a viable intrauterine gestation. In   already was accounted for in the original study through
  some instances, making a diagnosis of early pregnancy loss      its use of multiple ultrasonographers (12, 15). Other
  is fairly straightforward and requires limited testing or       important limitations in the development of these guide-
  imaging. For example, early pregnancy loss can be               lines should be recognized. For example, there were few
  diagnosed with certainty in a woman with an ultrasound-         cases at or near the measurements ultimately identified as
  documented intrauterine pregnancy who subsequently              decision boundaries. Similarly, the time between observ-
  presents with reported significant vaginal bleeding and an      ing a gestational sac and expecting to see a yolk sac or
  empty uterus on ultrasound examination. In other instances,     embryo was increased from 7 days or more in the clinical
  the diagnosis of early pregnancy loss is not as clear.          study (13) to 14 days in the guidelines (14). The basis of
  Depending on the specific clinical circumstances and how        this recommendation is unclear.
  much diagnostic certainty the patient desires, a single serum        Obstetrician–gynecologists caring for women expe-
  b-hCG test or ultrasound examination may not be sufficient      riencing possible early pregnancy loss should consider
  to confirm the diagnosis of early pregnancy loss.               other clinical factors when interpreting the Society of
       The use of ultrasound criteria to confirm the diagnosis    Radiologists in Ultrasound guidelines, including the
  of early pregnancy loss was initially reported in the early     woman’s desire to continue the pregnancy; her willingness
  1990s, shortly after vaginal ultrasonography became widely      to postpone intervention to achieve 100% certainty of
  available. Based on these early studies, a crown–rump           pregnancy loss; and the potential consequences of waiting
  length (CRL) of 5 mm without cardiac activity or an empty       for intervention, including unwanted spontaneous passage
  gestational sac measuring 16 mm in mean gestational sac         of pregnancy tissue, the need for an unscheduled visit or
  diameter have been used as diagnostic criteria to confirm       procedure, and patient anxiety. It is important to include
  early pregnancy loss (10, 11). Recently, two large pro-         the patient in the diagnostic process and to individualize
  spective studies have been used to challenge these cutoffs.     these guidelines to patient circumstances.
  In the first study, 1,060 women with intrauterine pregnan-           Criteria that are considered suggestive, but not
  cies of uncertain viability were followed up to weeks 11–14     diagnostic, of early pregnancy loss are listed in Table 1
  of gestation (12). In this group of women, 55.4% received       (14). Slow fetal heart rate (less than 100 beats per minute
  a diagnosis of nonviable gestation during the observation       at 5–7 weeks of gestation) (16) and subchorionic hemor-
  period. A CRL cutoff of 5 mm was associated with an 8.3%        rhage also have been shown to be associated with early
  false-positive rate for early pregnancy loss. A CRL cutoff of   pregnancy loss but should not be used to make a defini-
  5.3 mm was required to achieve a false-positive rate of 0%      tive diagnosis (17). These findings warrant further eval-
  in this study (12). Similarly, the authors reported a 4.4%      uation in 7–10 days (14).
  false-positive rate for early pregnancy loss when using              In cases in which an intrauterine gestation cannot be
  a mean gestational sac diameter cutoff of 16 mm. A mean         identified with reasonable certainty, serial serum b-hCG
  gestational sac diameter cutoff of 21 mm (without an            measurements and ultrasound examinations may be
  embryo and with or without a yolk sac) on the first ultra-      required before treatment to rule out the possibility of
  sound examination was required to achieve 100% specific-        an ectopic pregnancy. A detailed description of the rec-
  ity for early pregnancy loss. In a second study of 359          ommended approach to ectopic pregnancy diagnosis and
  women from the first study group, the authors concluded         management is available in Practice Bulletin Number
  that growth rates for the gestational sac (mean gestational     193, Tubal Ectopic Pregnancy (18).
  sac diameter) and the embryo (CRL) could not predict
  viability accurately (13). However, the authors concluded
                                                                  < What are the management options for early preg-
                                                                     nancy loss?
  that if a gestational sac was empty on initial scan, the
  absence of a visible yolk sac or embryo on a second scan        Accepted treatment options for early pregnancy loss
  performed 7 days or more after the first scan was always        include expectant management, medical treatment, or
  associated with pregnancy loss (13).                            surgical evacuation. Although these options differ
       Based on these studies, the Society of Radiologists        significantly in process, all have been shown to be
  in Ultrasound Multispecialty Panel on Early First Tri-          reasonably effective and accepted by patients. In
  mester Diagnosis of Miscarriage and Exclusion of                women without medical complications or symptoms
  a Viable Intrauterine Pregnancy created guidelines that         requiring urgent surgical evacuation, treatment plans



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  Table 1. Guidelines for Transvaginal Ultrasonographic Diagnosis of Pregnancy Failure in
           a Woman With an Intrauterine Pregnancy of Uncertain Viability*

                                                                           Findings Suspicious for, but Not Diagnostic of,
  Findings Diagnostic of Pregnancy Failure                                               Pregnancy Failurey

  Crown–rump length of 7 mm or greater and no heartbeat                   Crown–rump length of less than 7 mm and no heartbeat
  Mean sac diameter of 25 mm or greater and no embryo                     Mean sac diameter of 16–24 mm and no embryo
  Absence of embryo with heartbeat 2 weeks or more after                  Absence of embryo with heartbeat 7–13 days after a scan
  a scan that showed a gestational sac without a yolk sac                 that showed a gestational sac without a yolk sac
  Absence of embryo with heartbeat 11 days or more after                  Absence of embryo with heartbeat 7–10 days after a scan
  a scan that showed a gestational sac with a yolk sac                    that showed a gestational sac with a yolk sac
                                                                          Absence of embryo for 6 weeks or longer after last
                                                                          menstrual period
                                                                          Empty amnion (amnion seen adjacent to yolk sac, with no
                                                                          visible embryo)
                                                                          Enlarged yolk sac (greater than 7 mm)
                                                                          Small gestational sac in relation to the size of the embryo
                                                                          (less than 5 mm difference between mean sac diameter
                                                                          and crown–rump length)
  *Criteria are from the Society of Radiologists in Ultrasound Multispecialty Consensus Conference on Early First Trimester
  Diagnosis of Miscarriage and Exclusion of a Viable Intrauterine Pregnancy, October 2012.
  †
   When there are findings suspicious for pregnancy failure, follow-up ultrasonography at 7–10 days to assess the pregnancy for
  viability is generally appropriate.
  Reprinted from Doubilet PM, Benson CB, Bourne T, Blaivas M, Barnhart KT, Benacerraf BR, et al. Diagnostic criteria for nonviable
  pregnancy early in the first trimester. Society of Radiologists in Ultrasound Multispecialty Panel on Early First Trimester Diagnosis
  of Miscarriage and Exclusion of a Viable Intrauterine Pregnancy. N Engl J Med 2013;369:1443–51.




  can safely accommodate patient treatment preferences.                     Patients undergoing expectant management may
  There is no evidence that any approach results in                    experience moderate-to-heavy bleeding and cramping.
  different long-term outcomes. Patients should be                     Educational materials instructing the patient on when and
  counseled about the risks and benefits of each option.               who to call for excessive bleeding and prescriptions for
  The following discussion applies to symptomatic and                  pain medications should be provided. It also is important
  asymptomatic patients.                                               to counsel patients that surgery may be needed if
                                                                       complete expulsion is not achieved. Studies among
  Expectant Management                                                 women with early pregnancy loss typically have used
  Because of a lack of safety studies of expectant                     ultrasound criteria, patient-reported symptoms, or both,
  management in the second trimester and concerns about                to confirm complete passage of gestational tissue.
  hemorrhage, expectant management generally should be                 Although there is no consensus in the literature, a com-
  limited to gestations within the first trimester. With               monly used criterion for complete expulsion of preg-
  adequate time (up to 8 weeks), expectant management                  nancy tissue is the absence of a gestational sac and an
  is successful in achieving complete expulsion in approx-             endometrial thickness of less than 30 mm (23). However,
  imately 80% of women (19). Limited data suggest that                 there is no evidence that morbidity is increased in asymp-
  expectant management may be more effective in symp-                  tomatic women with a thicker endometrial measurement
  tomatic women (those who report tissue passage or have               (24). Surgical intervention is not required in asymptom-
  ultrasound findings consistent with incomplete expul-                atic women with a thickened endometrial stripe after
  sion) than in asymptomatic women (20, 21). Further-                  treatment for early pregnancy loss. Thus, the use of ultra-
  more, studies that included women with incomplete                    sound examination for any diagnostic purpose other than
  early pregnancy loss tend to report higher success rates             documenting the absence of the gestational sac is not
  than those that included only women with missed or                   recommended. Other follow-up approaches, such as stan-
  anembryonic pregnancy loss (22).                                     dardized follow-up phone calls, urine pregnancy tests, or



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  serial quantitative serum b-hCG measurements, may be
  useful, especially for women with limited access to                     Box 1. Protocol for the Medical
  follow-up ultrasound examination (25). However, these                 Management of Early Pregnancy Loss
  approaches have not been studied sufficiently among
  women with early pregnancy loss to provide meaningful
  guidance.                                                         c Misoprostol 800 micrograms vaginally, with one
                                                                      repeat dose as needed, no earlier than 3 hours
  Medical Management                                                  after the first dose and typically within 7 days if
  Medical management for early pregnancy loss can be                  there is no response to the first dose*
  considered in women without infection, hemorrhage,                c A dose of mifepristone (200 mg orally) 24 hours

  severe anemia, or bleeding disorders who want to shorten            before misoprostol administration should be
                                                                      considered when mifepristone is available.†
  the time to complete expulsion but prefer to avoid surgi-
                                                                    c Prescriptions for pain medications should be
  cal evacuation. Compared with expectant management,
                                                                      provided to the patient.
  medical management of early pregnancy loss decreases
                                                                    c Women who are Rh(D) negative and unsensitized
  the time to expulsion and increases the rate of complete            should receive Rh(D)-immune globulin within 72
  expulsion without the need for surgical intervention (26).          hours of the first misoprostol administration.
       Misoprostol-based regimens have been extensively             c Follow-up to document the complete passage of
  studied for the medical management of early pregnancy               tissue can be accomplished by ultrasound exam-
  loss (26). Most studies suggest that a larger dose of mi-           ination, typically within 7–14 days. Serial serum
  soprostol is more effective than a smaller dose, and vag-           b-hCG measurements may be used instead in
  inal or sublingual administration is more effective than            settings where ultrasonography is unavailable.
                                                                      Patient-reported symptoms also should be con-
  oral administration, although the sublingual route is asso-         sidered when determining whether complete
  ciated with more cases of diarrhea (26). The largest ran-           expulsion has occurred.
  domized controlled trial conducted in the United States           c If medical management fails, the patient may opt
  demonstrated complete expulsion by day 3 in 71% of                  for expectant management, for a time deter-
  women with first-trimester pregnancy loss after one dose            mined by the woman and her obstetrician–
  of 800 micrograms of vaginal misoprostol (23). The suc-             gynecologist or other gynecologic provider, or
                                                                      suction curettage.
  cess rate was increased to 84% after a second dose of 800
  micrograms of vaginal misoprostol was administered if             *Zhang J, Gilles JM, Barnhart K, Creinin MD, Westhoff C,
  needed. Therefore, in patients for whom medical man-              Frederick MM. A comparison of medical management with
                                                                    misoprostol and surgical management for early pregnancy
  agement of early pregnancy loss is indicated, initial treat-      failure. National Institute of Child Health Human
  ment using 800 micrograms of vaginal misoprostol is               Development (NICHD) Management of Early Pregnancy
  recommended, with a repeat dose as needed (Box 1).                Failure Trial. N Engl J Med 2005;353:761–9.
                                                                    †Schreiber CA, Creinin MD, Atrio J, Sonalkar S, Ratcliffe SJ,
       The addition of a dose of mifepristone (200 mg
                                                                    Barnhart KT. Mifepristone pretreatment for the medical
  orally) 24 hours before misoprostol administration may            management of early pregnancy loss. N Engl J Med
  significantly improve treatment efficacy and should be            2018;378:2161–70.
  considered when mifepristone is available (Box 1).
  Although initial studies were unclear about the benefit
  of mifepristone for the management of early pregnancy          0.21–0.68). Reports of bleeding intensity and pain as
  loss (27), a 2018 randomized controlled trial showed that      well as other adverse effects were generally similar for
  a combined mifepristone–misoprostol regimen was                the two treatment groups, and the occurrence of serious
  superior to misoprostol alone for the management of            adverse events was rare among all participants. These
  early pregnancy loss (28). Among 300 women under-              results are consistent with the demonstrated efficacy and
  going medical management for early pregnancy loss,             safety of the mifepristone–misoprostol combined regi-
  those who received mifepristone (200 mg orally) fol-           men for medication-induced abortion (29, 30). Currently,
  lowed by misoprostol (800 micrograms vaginally) 24             the availability of mifepristone is limited by U.S. Food
  hours later had significantly increased rates of complete      and Drug Administration Risk Evaluation and Mitigation
  expulsion (relative risk [RR], 1.25; 95% CI, 1.09–1.43)        Strategy restrictions (31). The American College of Ob-
  compared with women who received misoprostol alone             stetricians and Gynecologists supports improving access
  (800 micrograms vaginally) (28). The mifepristone–             to mifepristone for reproductive health indications (32).
  misoprostol regimen also was associated with                        A 2013 Cochrane review of limited evidence
  a decreased risk of surgical intervention with uterine         concluded that among women with incomplete preg-
  aspiration to complete treatment (RR, 0.37; 95% CI,            nancy loss (ie, incomplete tissue passage), the addition of



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  misoprostol does not clearly result in higher rates of      formed in an office setting with an electric vacuum
  complete evacuation when compared with expectant            source or manual vacuum aspirator, under local anes-
  management (at 7–10 days, success rates were 80–81%         thesia with or without the addition of sedation (37, 38).
  versus 52–85%, respectively) (33). Therefore, at this       Surgical management in the office setting offers sig-
  time, there is insufficient evidence to support or refute   nificant cost savings compared with the same pro-
  the use of misoprostol among women with incomplete          cedure performed in the operating room (38–40).
  pregnancy loss.                                             Patients often choose management in the office setting
        As with expectant management of early pregnancy       for its convenience and scheduling availability (38).
  loss, women opting for medical treatment should be
  counseled on what to expect while they pass pregnancy       < How do the different management options for
  tissue, provided information on when to call regarding          early pregnancy loss compare in effectiveness
  bleeding, and given prescriptions for pain medications.         and risk of complications?
  Counseling should emphasize that the woman is likely to
                                                              Studies have demonstrated that expectant, medical, and
  have bleeding that is heavier than menses (and poten-
                                                              surgical management of early pregnancy loss all result in
  tially accompanied by severe cramping). The woman
                                                              complete evacuation of pregnancy tissue in most patients,
  should understand how much bleeding is considered too
  much. An easy reference for the patient to use is the       and serious complications are rare. As a primary
  soaking of two maxi pads per hour for 2 consecutive         approach, surgical evacuation results in faster and more
  hours (34). The patient should be advised to call her       predictable complete evacuation (22). The success of
  obstetrician–gynecologist or other gynecologic provider     surgical uterine evacuation of early pregnancy loss ap-
  if she experiences this level of bleeding. As with          proaches 99% (23). The largest U.S. trial reported that
  expectant management, it also is important to counsel       success rates after medical management of anembryonic
  patients that surgery may be needed if medical manage-      gestations (81%) was lower than with embryonic or fetal
  ment does not achieve complete expulsion.                   death (88%) or incomplete or inevitable early pregnancy
        Follow-up typically includes confirmation of com-     loss (93%) (23). However, a subsequent multivariable
  plete expulsion by ultrasound examination, but serial       analysis of the same data revealed that only active bleed-
  serum b-hCG measurement may be used instead in set-         ing and nulliparity were strong predictors of success (41).
  tings where ultrasonography is unavailable. Patient-
                                                              Therefore, medical management is a reasonable option
  reported symptoms also should be considered when
                                                              for any pregnancy failure type.
  determining whether complete expulsion has occurred.
                                                                   Overall, serious complications after early preg-
  Surgical Management                                         nancy loss treatment are rare and are comparable
                                                              across treatment types. Clinically important intrauter-
  Surgical uterine evacuation has long been the traditional
  approach for women presenting with early pregnancy          ine adhesion formation is a rare complication after
  loss and retained tissue. Women who present with            surgical evacuation. Hemorrhage and infection can
  hemorrhage, hemodynamic instability, or signs of infec-     occur with all of the treatment approaches. In the
  tion should be treated urgently with surgical uterine       Management of Early Pregnancy Failure Trial, women
  evacuation. Surgical evacuation also might be preferable    randomized to the misoprostol group were signifi-
  in other situations, including the presence of medical      cantly more likely to have a decrease in their hemo-
  comorbidities such as severe anemia, bleeding disorders,    globin levels greater than or equal to 3 g/dL than
  or cardiovascular disease. Many women prefer surgical       women in the vacuum aspiration group (23, 42). How-
  evacuation to expectant or medical treatment because it     ever, rates of hemorrhage-related hospitalization with
  provides more immediate completion of the process with      or without transfusion are similar between treatment
  less follow-up.                                             approaches (0.5–1%) (23, 43). Pelvic infection also
       In the past, uterine evacuation often was per-         can occur after any type of early pregnancy loss treat-
  formed with sharp curettage alone. However, studies         ment. One systematic review concluded that although
  show that the use of suction curettage is superior to the   infection rates appeared lower among those undergo-
  use of sharp curettage alone (35, 36). Furthermore, the     ing expectant management than among those undergo-
  routine use of sharp curettage along with suction curet-    ing surgical evacuation (RR, 0.29; 95% CI, 0.09–
  tage in the first trimester does not provide any addi-      0.97), the overall rates of infection were low (1–2%)
  tional benefit as long as the obstetrician–gynecologist     (43). Because neither approach was clearly superior,
  or other gynecologic provider is confident that the         the reviewers concluded that patient preference should
  uterus is empty. Suction curettage also can be per-         guide choice of intervention (43).


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        The risk of infection after suction curettage for     tions. Small observational studies show no benefit to
  missed early pregnancy loss should be similar to that       delayed conception after early pregnancy loss (51, 52).
  after suction curettage for induced abortion. Therefore,    Abstaining from vaginal intercourse for 1–2 weeks
  despite the lack of data, antibiotic prophylaxis also       after complete passage of pregnancy tissue generally
  should be considered for patients with early pregnancy      is recommended to reduce the risk of infection, but
  loss (44, 45). The use of a single preoperative dose of     this is not an evidence-based recommendation.
  doxycycline is recommended to prevent infection after
  surgical management of early pregnancy loss. Some ex-       < How should patients be counseled regarding
  perts have recommended administration of a single 200-           the use of contraception after early preg-
  mg dose of doxycycline 1 hour before surgical manage-            nancy loss?
  ment of early pregnancy loss to prevent postoperative
  infection. The use of antibiotics based only on the diag-   Women who desire contraception may initiate hormonal
  nosis of incomplete early pregnancy loss has not been       contraception use immediately after completion of early
  found to reduce infectious complications as long as         pregnancy loss (53). There are no contraindications to the
  unsafe induced abortion is not suspected (46). The ben-     placement of an intrauterine device immediately after sur-
  efit of antibiotic prophylaxis for the medical management   gical treatment of early pregnancy loss as long as septic
  of early pregnancy loss is unknown.                         abortion is not suspected (53). The expulsion rate with
                                                              immediate intrauterine device insertion after suction curet-
  < How do the different treatment approaches to              tage in the first trimester is not clinically significantly dif-
         early pregnancy loss differ with respect to cost?
                                                              ferent than placement 2–6 weeks postoperatively (5%
  Studies have consistently shown that surgical man-          versus 2.7% at 6 months) (54).
  agement in an operating room is more costly than
  expectant or medical management (47, 48). However,          < How should patients be counseled regarding
  surgical management in an office setting can be more             prevention of alloimmunization after early
  effective and less costly than medical management                pregnancy loss?
  when performed without general anesthesia and in            Although the risk of alloimmunization is low, the
  circumstances in which numerous office visits are           consequences can be significant, and administration
  likely or there is a low chance of success with medical     of Rh D immune globulin should be considered in
  management or expectant management (49). Findings           cases of early pregnancy loss, especially those that
  from studies comparing the cost-effectiveness of            are later in the first trimester. If given, a dose of at
  medical and expectant management schemes are                least 50 micrograms should be administered. Because
  inconsistent. However, a U.S. analysis of all three         of the higher risk of alloimmunization, Rh D-negative
  management approaches concluded that medical man-           women who have surgical management of early preg-
  agement with misoprostol was the most cost-effective        nancy loss should receive Rh D immune globulin pro-
  intervention (48). One limitation of the available          phylaxis (55).
  studies on cost of early pregnancy loss care is that
  none of these studies can adequately consider clinical      < What type of workup is needed after early
  nuances or patient treatment preferences, which can              pregnancy loss?
  affect patient adherence to the primary treatment reg-
  imen and, subsequently, the effectiveness of that           No workup generally is recommended until after the
  treatment. For instance, in one observational study,        second consecutive clinical early pregnancy loss (7).
  the effectiveness of medical management of early            Maternal or fetal chromosomal analyses or testing for
  pregnancy loss was far lower than rates reported in         inherited thrombophilias are not recommended rou-
  randomized clinical trials, which was due in large part     tinely after one early pregnancy loss. Although throm-
  to patients’ unwillingness to complete the treatment        bophilias commonly are thought of as causes of early
  regimen (50).                                               pregnancy loss, only antiphospholipid syndrome con-
                                                              sistently has been shown to be significantly associated
  < How should patients be counseled regarding in-            with early pregnancy loss (56, 57). In addition, the use
         terpregnancy interval after early pregnancy loss?
                                                              of anticoagulants, aspirin, or both, has not been shown
  There are no quality data to support delaying concep-       to reduce the risk of early pregnancy loss in women
  tion after early pregnancy loss to prevent subsequent       with thrombophilias except in women with antiphos-
  early pregnancy loss or other pregnancy complica-           pholipid syndrome (58, 59).



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  < Are there any effective interventions to prevent             The following recommendations are based primarily on
       early pregnancy loss?                                     consensus and expert opinion (Level C):

  There are no effective interventions to prevent early          < Accepted treatment options for early pregnancy loss
  pregnancy loss. Therapies that have historically been            include expectant management, medical treatment, or
  recommended, such as pelvic rest, vitamins, uterine              surgical evacuation. In women without medical com-
  relaxants, and administration of b-hCG, have not been            plications or symptoms requiring urgent surgical
  proved to prevent early pregnancy loss (60–62). Like-            evacuation, treatment plans can safely accommodate
  wise, bed rest should not be recommended for the                 patient treatment preferences.
  prevention of early pregnancy loss (63). A 2008 Co-            < The use of a single preoperative dose of doxycycline
  chrane review found no effect of prophylactic proges-            is recommended to prevent infection after surgical
  terone administration (oral, intramuscular, or vaginal)          management of early pregnancy loss.
  in the prevention of early pregnancy loss (64). For            < Although the risk of alloimmunization is low, the
  threatened early pregnancy loss, the use of progestins            consequences can be significant, and administration
  is controversial, and conclusive evidence supporting              of Rh D immune globulin should be considered in
  their use is lacking (65). Women who have experi-                 cases of early pregnancy loss, especially those that
  enced at least three prior pregnancy losses, however,             are later in the first trimester.
  may benefit from progesterone therapy in the first tri-        < Because of the higher risk of alloimmunization, Rh
                                                                   D-negative women who have surgical management
  mester (7).
                                                                   of early pregnancy loss should receive Rh D immune
                                                                   globulin prophylaxis.
  Summary of
  Recommendations                                                References
  and Conclusions                                                 1. National Institute for Health and Clinical Excellence. Ectopic
                                                                     pregnancy and miscarriage: diagnosis and initial manage-
  The following recommendation and conclusion are based              ment in early pregnancy of ectopic pregnancy and miscar-
  on good and consistent scientific evidence (Level A):              riage. NICE Clinical Guideline 154. Manchester (UK):
                                                                     NICE; 2012. Available at: http://www.nice.org.uk/guidance/
  < In patients for whom medical management of early                 cg154/resources/guidance-ectopic-pregnancy-and-miscarriage-
    pregnancy loss is indicated, initial treatment using             pdf. Retrieved January 20, 2015. (Level III)
    800 micrograms of vaginal misoprostol is recommen-            2. Wilcox AJ, Weinberg CR, O’Connor JF, Baird DD, Schlat-
    ded, with a repeat dose as needed. The addition of               terer JP, Canfield RE, et al. Incidence of early loss of
                                                                     pregnancy. N Engl J Med 1988;319:189–94. (Level II-3)
    a dose of mifepristone (200 mg orally) 24 hours
    before misoprostol administration may significantly           3. Wang X, Chen C, Wang L, Chen D, Guang W, French J.
    improve treatment efficacy and should be considered              Conception, early pregnancy loss, and time to clinical preg-
                                                                     nancy: a population-based prospective study. Fertil Steril
    when mifepristone is available.                                  2003;79:577–84. (Level II-2)
  < The use of anticoagulants, aspirin, or both, has not
    been shown to reduce the risk of early pregnancy loss         4. Zinaman MJ, Clegg ED, Brown CC, O’Connor J, Selevan
                                                                     SG. Estimates of human fertility and pregnancy loss. Fertil
    in women with thrombophilias except in women with                Steril 1996;65:503–9. (Level II-3)
    antiphospholipid syndrome.
                                                                  5. Stephenson MD, Awartani KA, Robinson WP. Cytogenetic
  The following recommendations are based on limited                 analysis of miscarriages from couples with recurrent mis-
  or inconsistent scientific evidence (Level B):                     carriage: a case-control study. Hum Reprod 2002;17:446–
                                                                     51. (Level II-2)
  < Ultrasonography, if available, is the preferred modality      6. Alijotas-Reig J, Garrido-Gimenez C. Current concepts and
    to verify the presence of a viable intrauterine gestation.       new trends in the diagnosis and management of recurrent
  < Surgical intervention is not required in asymptomatic            miscarriage. Obstet Gynecol Surv 2013;68:445–66. (Level III)
    women with a thickened endometrial stripe after treat-
                                                                  7. Evaluation and treatment of recurrent pregnancy loss:
    ment for early pregnancy loss.                                   a committee opinion. Practice Committee of the American
  < The  routine use of sharp curettage along with suction           Society for Reproductive Medicine. Fertil Steril 2012;98:
    curettage in the first trimester does not provide any            1103–11. (Level III)
    additional benefit as long as the obstetrician–               8. Nybo Andersen AM, Wohlfahrt J, Christens P, Olsen J,
    gynecologist or other gynecologic provider is confi-             Melbye M. Maternal age and fetal loss: population based
    dent that the uterus is empty.                                   register linkage study. BMJ 2000;320:1708–12. (Level II-3)



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      modern management. Fertil Steril 2012;98:1061–5. (Level III)          failure. National Institute of Child Health Human Develop-
  10. Brown DL, Emerson DS, Felker RE, Cartier MS, Smith                    ment (NICHD) Management of Early Pregnancy Failure
      WC. Diagnosis of early embryonic demise by endovaginal                Trial. N Engl J Med 2005;353:761–9. (Level I)
      sonography. J Ultrasound Med 1990;9:631–6. (Level III)            24. Creinin MD, Harwood B, Guido RS, Fox MC, Zhang J.
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      M, Goldberg BB, et al. Prospective comparison of vaginal              nancy failure. NICHD Management of Early Pregnancy Fail-
      and abdominal sonography in normal early pregnancy.                   ure Trial. Int J Gynaecol Obstet 2004;86:22–6. (Level III)
      J Ultrasound Med 1991;10:63–7. (Level II-3)                       25. Grossman D, Grindlay K. Alternatives to ultrasound for
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      C, et al. Limitations of current definitions of miscarriage           Contraception 2011;83:504–10. (Level III)
      using mean gestational sac diameter and crown-rump                26. Neilson JP, Hickey M, Vazquez JC. Medical treatment for
      length measurements: a multicenter observational study.               early fetal death (less than 24 weeks). Cochrane Database
      Ultrasound Obstet Gynecol 2011;38:497–502. (Level II-3)               of Systematic Reviews 2006, Issue 3. Art. No.: CD002253.
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    Institutes of Health and the American College of
    Obstetricians and Gynecologists were reviewed, and           Early pregnancy loss. ACOG Practice Bulletin No. 200.
    additional studies were located by reviewing                 American College of Obstetricians and Gynecologists. Obstet
    bibliographies of identified articles. When reliable         Gynecol 2018;132:e197–207.
    research was not available, expert opinions from
    obstetrician–gynecologists were used.
    Studies were reviewed and evaluated for quality
    according to the method outlined by the U.S.
    Preventive Services Task Force:
    I    Evidence obtained from at least one properly de-
         signed randomized controlled trial.
    II-1 Evidence obtained from well-designed controlled
         trials without randomization.
    II-2 Evidence obtained from well-designed cohort or
         case–control analytic studies, preferably from more
         than one center or research group.
    II-3 Evidence obtained from multiple time series with or
         without the intervention. Dramatic results in
         uncontrolled experiments also could be regarded as
         this type of evidence.
    III Opinions of respected authorities, based on clinical
         experience, descriptive studies, or reports of expert
         committees.
    Based on the highest level of evidence found in the data,
    recommendations are provided and graded according to
    the following categories:
    Level A—Recommendations are based on good and
    consistent scientific evidence.
    Level B—Recommendations are based on limited or
    inconsistent scientific evidence.
    Level C—Recommendations are based primarily on
    consensus and expert opinion.




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             Progesterone supplementation during the luteal phase
             and in early pregnancy in the treatment of infertility:
             an educational bulletin
             The Practice Committee of the American Society for Reproductive Medicine in collaboration with the
             Society for Reproductive Endocrinology and Infertility
             American Society for Reproductive Medicine, Birmingham, Alabama


             Exogenous progesterone supplementation is a common element of treatment regimens for infertility, particularly
             those relating to the assisted reproductive technologies. (Fertil Steril 2008;90:S150–3. 2008 by American
             Society for Reproductive Medicine.)



The modulating effects of progesterone (P) on endometrial               decrease in serum P concentrations followed by miscarriage
structure and function are essential to the success of human            (1). When luteectomy was performed more than 27 days after
reproduction. After ovulation, P produced by the corpus lu-             the missed menstrual period (8 weeks’ gestation or later), P
teum (CL) induces ‘‘secretory’’ maturation of the endome-               levels decreased only slightly and transiently, and pregnancy
trium, involving a cascade of molecular events that                     continued (1). Finally, exogenous P replacement after early
ultimately renders the endometrium receptive to implantation            luteectomy (before 7 weeks’ gestation) prevented otherwise
of the embryo. After nidation, continued P stimulation,                 inevitable miscarriage. These and other related studies dem-
driven by rapidly increasing concentrations of hCG, decidu-             onstrated clearly that the success of early pregnancy depends
alizes the endometrial stoma and supports early embryonic               on P that derives primarily from the CL before 7 weeks’ ges-
development.                                                            tation, almost entirely from the trophoblast after 9 weeks’
                                                                        gestation, and from both sources to varying extent during
   Considering the important role that P plays in human re-
                                                                        the time between, known as the luteal–placental shift (2).
production, it is not surprising that exogenous supplemental
P is a common element of treatment regimens in infertility,
particularly those relating to the assisted reproductive tech-
nologies (ART). This document will review the effects of                MEASURES OF LUTEAL FUNCTION
various treatments on endogenous P secretion and the ration-            There are no reliable methods for diagnosis of P deficiency
ale for supplementation, the available forms and routes of              during the luteal phase or early pregnancy. Serum P concen-
administration for exogenous P, and the benefits and the risks          trations range widely during the mid and late luteal phases
of exogenous P supplementation during early pregnancy.                  because P secretion by the CL is pulsatile. Levels as low as
                                                                        2.3 and as high as 40.1 ng/mL have been observed within
                                                                        the relatively short interval of time spanning a single secre-
NOMENCLATURE                                                            tory pulse (60–90 minutes) (3). Consequently, single and
Progestogens are a class of steroidal compounds having                  even serial serum P measurements have limited clinical util-
P-like actions that includes natural P and various synthetic            ity and may not provide a truly accurate gauge of the quality
progestins derived from P itself (containing 21 carbons;                of luteal function. Progesterone levels in early pregnancy also
C-21), T (C-19), or aldosterone (C-18) precursors.                      range widely, particularly when conception follows treatment
                                                                        with ovulation-inducing drugs. Histologic endometrial dat-
                                                                        ing was widely accepted for decades as the gold standard
THE IMPORTANCE OF PROGESTERONE IN EARLY
                                                                        among methods for assessing the quality of luteal function
PREGNANCY
                                                                        (4), but more recently has been proven invalid (5, 6). Proges-
A classic series of studies conducted more than three decades           terone supplementation necessarily is empiric and has been
ago demonstrated that P secretion by the CL is absolutely               applied liberally in clinical circumstances wherein the
required for the success of early human pregnancy. Surgical             amount or duration of P production is reasonably suspect.
excision of the CL (‘‘luteectomy’’) before 7 weeks’ gestation
(using traditional methods for dating pregnancy from onset of
last menstrual period) uniformly precipitated an abrupt                 EFFECT OF GONADOTROPIN-RELEASING HORMONE
Position Statement
                                                                        ANALOGS ON LUTEAL FUNCTION
Recently Published April 11, 2008.                                      Gonadotropin-releasing hormone analogs, both agonists and
Received February 4, 2008; accepted February 4, 2008.                   antagonists, are used widely to synchronize early follicular
Correspondence to: Practice Committee, American Society for Repro-
  ductive Medicine, 1209 Montgomery Highway, Birmingham, Alabama
                                                                        development and to prevent premature luteinization and ovu-
  35216.                                                                lation during controlled ovarian hyperstimulation (COH)
No reprints will be available.                                          with exogenous gonadotropins for superovulation or IVF.

S150    Fertility and Sterility Vol. 90, Suppl 3, November 2008                                                    0015-0282/08/$34.00
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However, their mechanisms of action also threaten the quality     levels, but nonetheless achieves endometrial tissue concentra-
of luteal function that follows ovulation or oocyte retrieval.    tions up to 30-fold greater than those achieved with IM P (15).
   Long-acting GnRH agonists (e.g., leuprolide, nafarelin,           Progesterone can be administered vaginally in an 8% gel,
goserelin) have a two-phased action on pituitary gonadotro-       compounded suppositories, or in tablets containing micron-
pin secretion. Initially, agonists stimulate gonadotropin         ized P. The effects of treatment with vaginal suppositories
release directly, but continued stimulation ultimately down-      or tablets in doses ranging between 200 and 600 mg/day
regulates pituitary GnRH receptors and thereby suppresses         appear comparable to those achieved by administration of
gonadotropin secretion. Once down-regulated, pituitary            a gel containing 90 mg of P, but investigations aimed at com-
function is slow to recover and does not return to normal until   paring the efficacy of the differing forms of vaginally admin-
2–3 weeks after agonist treatment ends (7). Because normal        istered P have been limited by relatively small study cohorts.
CL function depends on pituitary LH stimulation, some
form of luteal phase support is considered prudent, if not           The relative effectiveness of the vaginal and IM routes of P
essential, to prevent any P deficiency that might jeopardize      supplementation has been controversial. A clinical trial
the success of implantation or early pregnancy (7, 8).            involving 250 women in a first IVF cycle, randomized to
                                                                  receive IM P (50 mg/day) or vaginal micronized P supple-
   The GnRH antagonists block pituitary GnRH receptors di-        mentation (200 mg/day), observed higher PRs in the group
rectly. Consequently, their onset of action is immediate and      treated with IM P (16). A second open label randomized trial
their effects more profound than those of long-acting agonists.   involving 201 women yielded similar results; the age-
Like the GnRH agonists, antagonists often are used to prevent     adjusted odds ratios for clinical PR, implantation rates, and
a premature LH surge during stimulation with exogenous go-        live birth rates all favored the group that received IM P sup-
nadotropins for ovulation induction, superovulation, or IVF.      plementation over the one receiving treatment with a vagi-
Whereas treatment with long-acting agonists typically begins      nally administered P gel (17). In contrast, another study of
during the luteal phase of the cycle preceding stimulation, an-   IVF outcomes in a group of 262 women supplemented
tagonists are administered for a shorter interval of days, usu-   with E2 valerate in combination with either IM P (50 mg/
ally beginning when the lead follicle reaches 13–14 mm in         day) or vaginal micronized P (600 mg/day) observed no dif-
mean diameter. Although the corresponding duration of pitu-       ferences in clinical PRs between the groups (18). In addition,
itary suppression is shorter than after treatment with an ago-    first trimester miscarriage rates were significantly lower in
nist, GnRH antagonist treatment also predisposes to poor          women receiving vaginal P supplementation, although their
luteal function, regardless of whether recombinant LH,            plasma concentrations also were lower than in those treated
hCG, or a GnRH agonist is used to trigger ovulation (9, 10).      with IM P. The Cochrane systematic review of clinical trials
                                                                  examining outcomes in IVF cycles involving treatment with
   Overall, the weight of available evidence supports using       a long-acting GnRH agonist concluded that [1] clinical PRs
some form of luteal phase support when treatment has in-          per embryo transfer in women receiving vaginal or IM P sup-
cluded any GnRH analog, agonist or antagonist. A 2002             plementation were not significantly different (OR 0.82, CI
meta-analysis of randomized controlled trials of IVF cycles       0.67–1.01), and [2] the optimal route of P administration
using GnRH agonists observed that all luteal phase support        has not been established (12).
regimens (IM or vaginally administered P and hCG) yield
significantly higher pregnancy rates (PR), compared with             The necessary or optimal duration of supplemental P ther-
placebo or no treatment (11). A 2004 Cochrane systematic          apy also has not been established firmly. Evidence derived
review of 59 studies concluded that in IVF cycles involving       from the classic luteectomy studies described previously
down-regulation with a long-acting GnRH agonist, P supple-        indicates that P supplementation is most important during
mentation (administered vaginally or by IM injections)            the first 5 weeks after conception (7 weeks’ gestation) and al-
achieved higher ongoing PRs per embryo transfer compared          most certainly unnecessary beyond 7 weeks after conception
with placebo or no treatment (odds ratio [OR] 2.38, 95%           (9 weeks’ gestation) (1, 2).
confidence interval [CI] 1.32–4.29) (12).
                                                                     Luteal support is most commonly provided by treatment
                                                                  with supplemental P but also can be achieved effectively by
                                                                  administration of exogenous hCG. In IVF cycles involving
METHODS OF LUTEAL SUPPORT                                         treatment with a long-acting GnRH agonist, hCG stimulation
Progesterone can be administered orally, vaginally, or by IM      of luteal function and P supplementation have similar effec-
injections. Oral P supplementation is the least common method     tiveness. In an analysis of combined data from six clinical
because two randomized controlled trials observed signifi-        trials involving a total of 1,038 women, the ongoing PR per
cantly lower implantation rates and PRs, higher miscarriage       embryo transfer in cycles supplemented directly with P was
rates, or both, in women receiving oral micronized P supple-      not significantly different from that in cycles supplemented
mentation, compared with women receiving IM or vaginally          with hCG (OR 0.94, 95% CI 0.70–1.27) (12). However, the
administered P (13, 14). Intramuscular P in oil (50 mg/day)       risk for ovarian hyperstimulation syndrome (OHSS) was sig-
generates circulating P concentrations at or above the physio-    nificantly lower for women receiving P supplementation than
logical range. Vaginally administered P yields lower serum        for those treated with hCG (OR 0.46, 95% CI 0.26–0.81) (12).

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RISKS OF PROGESTERONE SUPPLEMENTATION                                 In IVF cycles involving down-regulation with a long-
The weight of available evidence indicates that the most               acting GnRH agonist, P supplementation (50 mg/day
common forms of P supplementation during early pregnancy               administered IM or 200–600 mg/day administered
pose no significant risk to mother or fetus. One retrospective         vaginally) yields significantly higher PRs, compared
case control study has observed an association between ma-             with treatment with placebo or no treatment.
ternal exposure to exogenous progestogens during early                Luteal phase supplementation with hCG is associated
pregnancy and an increased risk for hypospadias in their               with greater risk for OHSS compared with supplementa-
infants (OR 2.2, 95% CI 1.0–5.0) (19). However, for 30                 tion with P.
of the 42 cases described in the report, the type and duration        Although maternal exposure to exogenous progestogens
of progestogen treatment was not known or specified. Be-               during early pregnancy has been associated with an
cause certain progestogens possess weak androgenic and                 increased risk of hypospadias in their infants, the risk
antiandrogenic properties, it is quite possible that the ob-           appears to be limited to treatment with progestins that
served association between early maternal progestogen ex-              bind to the androgen receptor.
posure and the risk of hypospadias may be attributed                  There is no evidence to indicate that maternal exposure
largely, if not entirely, to use of progestins that bind to the        to P or 17-OHP during pregnancy increases risk for birth
androgen receptor. There is no direct evidence to indicate             defects.
that supplementation with P itself during early pregnancy
                                                                  Acknowledgments: This report was developed under the direction of the Prac-
poses any significant risk of hypospadias or other types of
                                                                  tice Committee of the American Society for Reproductive Medicine as a ser-
birth defects. The increased risk for hypospadias observed        vice to its members and other practicing clinicians. Although this document
in infants conceived by intracytoplasmic sperm injection          reflects appropriate management of a problem encountered in the practice of
(ICSI) most likely can be attributed to genetic factors re-       reproductive medicine, it is not intended to be the only approved standard of
lated to paternal subfertility (20).                              practice or to dictate an exclusive course of treatment. Other plans of man-
                                                                  agement may be appropriate, taking into account the needs of the individual
    In 1999, the US Food and Drug Administration (FDA)            patient, available resources, and institutional or clinical practice limitations.
conducted a thorough review of the relevant published scien-      The Practice Committee of the American Society for Reproductive Medicine
                                                                  and the Board of Directors of the American Society for Reproductive Med-
tific data, which yielded the following key findings:
                                                                  icine have approved this report.
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    alies, including genital abnormalities in male or female
    infants, resulting from maternal exposure to P or 17a-        REFERENCES
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                                                                      the administration of recombinant human chorionic gonadotropin,
    antagonist to prevent a premature LH surge frequently             recombinant luteinizing hormone, or gonadotropin-releasing hormone
    results in poor luteal function due to residual suppres-          (GnRH) agonist to induce final oocyte maturation in in vitro fertilization
    sion of pituitary LH secretion.                                   patients after ovarian stimulation with recombinant follicle-stimulating


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                      PRACTICE BULLETIN 8
                 EVIDENCE DIRECTING PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS
Number 8 February 25, 2020



Medical Management of Elective Induced Abortion
The advent of mifepristone abortion has been heralded by the abortion industry as the solution to the
problems of declining numbers of abortion providers and the increasing requirements that abortion
facilities comply with standard medical requirements. Seldom are women given accurate information
that there is at least a four-fold increase in immediate complications, including of hemorrhage, retained
tissue and subsequent ER visits, with complications increasing exponentially for increasing gestational
age. It is important that medical professionals understand the increased risk presented to women from
medical abortion in order to appropriately provide accurate informed consent.



Background                                                      the expected increase in prevalence, it is important
                                                                for physicians to be aware of the health risks
Medical abortion, which involves the use of                     associated with these medications.
medication rather than surgery to induce an
abortion, has been commonly used in the U.S.                    In the U.S., the only Food and Drug
since 2000 and is currently approved until 70 days              Administration approved medical abortion regimen
of gestation (calculated from the first day of the              is induced with the provision of two medications:
last menstrual period). Whereas the total numbers               mifepristone and misoprostol. Mifepristone,
of abortions are declining in the U.S., the numbers             (Mifeprex or RU486), a norethindrone derivative,
of medical abortions are increasing. 1 In 2004 only             binds to progesterone receptors but does not
14% of abortions were performed medically, but                  activate them, functioning as an anti-progesterone.5
currently 39% of abortions in the U.S. are induced              Blocking the hormonal support for the pregnancy
by medication.2 There are many reasons to expect                results in disruption of the endometrial
this rise to continue, including the lucrative nature           implantation site and fetal death. 6 Misoprostol
of medical abortion, the dwindling numbers of                   (Cytotec), a prostaglandin E1 analogue, is taken
physician abortionists 3,4 and the rise of laws                 24-48 hours later to induce contractions to expel
placing restrictions on surgical abortions. Given               the pregnancy tissue.7 Buccal, sublingual and


Committee on Practice Bulletins. This document was developed by the Practice Bulletin Committee to provide evidence for
pro-life practice. Because of the gravity of issues addressed by AAPLOG, variation in practice regarding matters of fetal life
should be undertaken only after serious consideration of the literature cited by this document.
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vaginal misoprostol administration appear to be     threatening illnesses such as advanced cancer and
more effective than oral administration. 8 Other    HIV.13 Also, the FDA based approval on the
medications such as methotrexate, tamoxifen9 and    combined action of the mifepristone with
letrozole have been used in place of mifepristone   misoprostol, because mifepristone does a poor job
on occasion, but almost all reported medical        of completely evacuating the uterus on its own.
abortions in the U.S. currently are initiated with  They mandated the use of misoprostol over the
mifepristone. 10                                    objections of its manufacturer, Searle. 14 The FDA
                                                    is required to test a drug in a pediatric population
                                                    but waived this requirement without explanation
History of Medical Abortion in the U.S.             despite adolescent women comprising 1/4-1/3 of
                                                    its users.15 Finally, the approved regimen does not
It is instructive to examine the circumstances in   mimic clinical trial conditions as it lacked a
which mifepristone was approved, as they illustrate required ultrasound, experienced surgeon
the ways in which abortion provision is held to a   dispensing, and nearby hospital admitting
different standard from other medical procedures    privileges.16
in the U.S. In an unprecedented move, then
President Bill Clinton wrote the French             The FDA approved Mifepristone for U.S.
manufacturer, Rousell Uclaf, asking them to file a distribution in 2000 under SubPart H, which was
new drug application with the FDA. When they        the only mechanism at the time which allowed
were hesitant to do so due to legal concerns,       FDA to require post-marketing restrictions of
Rousell Uclaf then ceded the rights to manufacture drugs considered at high risk for complications if
and distribute in the United States to “Planned     not used in accordance with the FDA label. In
Parenthood/Population Council”. The Population      2006, the FDA instituted a Risk Evaluation
Council gave manufacturing permission to a          Mitigation Strategy (REMS). This is a safety
company created for this specific purpose,          strategy applied to medications that have a known
Danco,11whose assets were lodged in the Cayman or potential serious risk associated with them. 17
Islands. Danco then hired Hua Lin                   Under this strategy, the risk of complications such
pharmaceuticals in China to manufacture             as ruptured ectopic pregnancies, hemorrhage,
mifepristone. Hua Lin was at that point under       infection and retained pregnancy tissue, which
discipline from the FDA for faulty quality control. require surgery in as many as one in 20
                                                       women,18,19 might be minimized. To decrease the
The FDA failed to follow its own rules on              likelihood of these negative effects, Mifepristone
numerous occasions in order to approve this drug.      was initially only approved up to 49 days
A new drug must have at least two randomized,          gestational age, the provider was registered after
blinded placebo-controlled trials documenting its      speciﬁc training, it was only to be dispensed in
safety and efficacy, but the submitted trials had no   certain healthcare settings and the patients were to
placebo groups.12                                      be informed of the risk of serious side effects.
                                                       Mifepristone abortion providers were required to
Mifepristone was approved under a special              be able to accurately determine the gestational age,
category, “Subpart H: Accelerated Approval             confirm an intrauterine location of the pregnancy,
Regulations” which are intended for serious/life-


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and intervene surgically if the abortion was            sometimes seen.29 The side effects of cramping,
unsuccessful or a complication resulted (or             vaginal bleeding, hemorrhage, nausea, weakness,
alternatively the abortionist could have an             fever/chills, vomiting, headache, diarrhea, and
agreement with another doctor and facility capable      dizziness occur in almost all women.30
of providing this care). Complication reporting was
mandated, as was a 14-day follow-up visit for the        Within a few years of mifepristone’s approval, four
woman.20                                                 deaths from sepsis caused by Clostridium sordellii
                                                         causes the FDA and CDC to investigate the
Finally, a black box warning was assigned. “If           potential for immune suppression and sepsis from
mifepristone/misoprostol results in incomplete           mifepristone and misoprostol. Both mifepristone31
abortion, surgical intervention may be necessary.        and misoprostol are capable of profound immune
Prescribers should determine in advance and give         suppression. This information led Planned
clear instructions whom to call and what to do in        Parenthood to change from vaginal to buccal
case of emergency. Medical abortion is                   administration of misoprostol. Unfortunately,
contraindicated if there is no access to medical         buccal administration was also associated with
facilities for emergency services.”21                    septic deaths.32 Currently there are over 5000
                                                         complications reported to the Adverse Event
                                                         Reporting System.33 To date, 24 deaths have been
Reality of Medical Abortion for women                    reported, many from an unusual Clostridium
                                                         sordellii sepsis 34 or from ruptured ectopic
Women often choose a medical abortion as a result pregnancies, because mifepristone has no effect on
of intense marketing of the assumption that it is        a pregnancy that is not implanted in the uterus. A
more natural, private and safer than a surgical          previously healthy 21-year-old woman had a heart
procedure,22 but physicians and patients alike may attack.35 A new black box warning was generated:
be unaware that it takes much longer, involves far “Watch for atypical presentation of infection,
more bleeding and pain, and complications occur          prolonged heavy bleeding, ensure the patient
four times more frequently from medical as               knows who to call and to alert the ER of
compared to surgical abortions. 23 The average           mifepristone use if she presents there.”36
woman bleeds for 9-16 days and eight percent will
bleed longer than a month.24 Approximately one           Despite the high reported complication rates, a
percent will require hospitalization for serious         supplemental application was approved by the
complications, one percent will have ongoing             FDA in 2016 which loosened these restrictions.
viable pregnancies (it will fail to kill the fetus), and The use was extended until 70 days gestational
surgery for incomplete abortion will be required in age, despite very few studies and much higher
three to eight percent.25,26 The rate of all of these    failure rates in higher gestational ages. 37 There was
complications increase exponentially as gestational modification of the dose, timing and route of
age increases.27,28 If a pregnancy continues to birth administration.38 It was no longer required to
after taking misoprostol, the second drug in the         report a complication unless it resulted in a
regimen, teratogenic effects such as clubfoot,           woman’s death, nor was it required to have a
cranial nerve anomalies (Mobius syndrome) and            follow-up visit.39
limb abnormalities related to misoprostol are


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Contraindications to medical abortion include         Mitchell Creinin is a consultant for Danco, the
hemoglobin < 9.5 g/dL, ectopic pregnancy,             company that manufactures Mifepristone. 45
intrauterine device in place, long-term               Elizabeth Raymond is employed by Gynuity, a
corticosteroid therapy, chronic adrenal failure,      company which seeks to provide medical abortions
coagulopathy or anticoagulant therapy, and            by telemedicine.46
allergies to the medications. It is also not
recommended if the woman has the inability to         In 2018, the National Academy of Sciences,
follow-up or is likely to be non-compliant.40         Engineering and Medicine published a book: The
                                                      Safety and Quality of Abortion Care in the U.S.,
                                                      which made the assertion that abortion is
What do studies say about medical abortion            extremely safe for women, and this publication has
safety?                                               been widely referenced. The researchers’ bias is
                                                      immediately apparent because it was funded by
In examining the peer-reviewed literature on          Packard, Buffett, and Hewlett Foundations, three
medical abortion, the alert reader will notice two    of the top international funders of abortion
disparate trends. Studies performed internationally   advocacy.47 These researchers performed an
or by non-biased researchers often find that          extensive literature review but excluded an
failures and complications after medical abortion     extraordinary number of studies for perceived
are common. Meanwhile, studies performed by           defects. Not surprisingly, by primarily utilizing
vocal abortion advocates tend to find much lower      studies performed by fellow abortion advocates,
incidences of adverse outcomes. These trends          they concluded that serious complications or long
merit examination.                                    term physical or mental health effects are virtually
                                                      non-existent. In fact, they reported abortion is so
Many of the studies which conclude that medical       safe that the only deterrent to its safety is
abortion is extremely safe are published in           legislative restrictions enacted by the states that
Contraception, a journal affiliated with the          may prevent a woman from accessing an abortion
Guttmacher Institute and Planned Parenthood, or       immediately, “creating barriers to safe and
Obstetrics and Gynecology, a journal published by     effective care.”
The American College of Obstetricians and
Gynecologists. These organizations are well           They concluded that abortions can be performed
known for their abortion advocacy.41,42,43 Many       safely in an ofﬁce-based setting or by telemedicine
studies are performed by researchers such as          without the need for hospital admitting privileges.
Daniel Grossman, Diana Greene Foster, Ushma           No special equipment or emergency arrangements
Uphadhyay, and David Grimes, who are affiliated       are required for medical abortions. Medical
with the Bixby Center for Global Reproductive         abortions do not need to be performed by
Health at the University of California, San           physicians; they can safely be performed by
Francisco, which describes itself as a “leader in     trained certiﬁed nurse midwives, nurse
clinical research to develop methods of abortion      practitioners, and physician assistants. They
and improve abortion care.”44 Additionally, many      reported that abortion has no long-term adverse
of the most prolific researchers are paid employees   effects, and abortion speciﬁcally does not increase
of companies that profit from medical abortions:


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the risk of preterm delivery, mental health            unsuccessful. Incidentally, that study examined
disorders or breast cancer. However, when one          over 30,000 women over two years who had
examines the research studies they used for their      abortions in one clinic system (Planned
conclusions, the poor quality of the literature        Parenthood) in one city (Los Angeles). The
regarding long-term complications becomes              experiences of such high-volume abortion
apparent. For many questions, there were very few      providers may not necessarily be comparable to
or no studies that met their inclusion criteria, and   other inexperienced or poorer-quality abortion
they disqualiﬁed many studies due to perceived         providers.56
study defects. Thus, in all cases, there were less
than five studies on which they based their         Immediate complications from surgical abortions
deﬁnitive conclusion of “no long-term impact.” To   usually occur due to a surgical misadventure such
make this determination, however, they rejected     as cervical dilation creating a false passage,
hundreds of other published peer-reviewed           instrumental uterine perforation or incomplete
studies.48,49,50,51,52                              evacuation of pregnancy tissue. The immediate
                                                    complications of medical abortions are commonly
A closer glance at some of the large studies the    attributed to hemorrhage or infection from
NAS referenced show that they also contain many incomplete uterine evacuation and retained
flaws. One study reported a very small percentage pregnancy tissue. But recent research suggests that
of emergency room visits for abortion               mifepristone itself may also cause complications of
complications but ignored the reality that          infection and mental health issues through direct
documentation specifying medical abortion           pharmacologic effects. Mifepristone also blocks
complications is very difficult in the ICD-10       glucocorticoid receptors which may contribute to
system.53 Another study documented a very low       an impaired inflammatory response, increasing the
incidence of serious abortion complications by      risk of infection.57 In addition, it causes the release
reviewing Planned Parenthood’s database, ignoring of inflammatory cytokines which have been
the fact that most abortionists do not maintain     implicated in causing depression. In a rat model
hospital admitting privileges or care for their own the mifepristone termination group had
complications. A woman suffering a complication significantly decreased body weight, food intake,
from medical abortion must be cared for by any      locomotor-related activity, and sucrose
emergency facility to which she presents due to     consumption, which are all animal proxies for
EMTALA (Emergency Medical Treatment and             depression and anxiety.58
Labor Laws), so many women receive post-
abortion complication care by non-abortion          There are less biased studies available
providers. Thus, serious events would be unlikely   internationally that give a far different picture of
to be documented in their clinic records.54,55      the safety of medical abortions. Epidemiologic
Finally, another study reported that 99.6% of       studies in Finland are of better quality than those in
medical abortions were successful although 2.1%     the U.S. because single payer healthcare and
                                                    meticulous medical record keeping ensure that all
of the women in their clinics required surgical
aspiration. The need for surgery, by definition,    pregnancies and all medical events are accurately
                                                    recorded. A study of over 42,000 women receiving
would indicate the medical abortions were
                                                    abortions at <7 weeks gestational age documented


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that adverse events occurred in one in five women        It is well documented in the U.S. that at least 50%
who had medical abortions and almost 6% required         of maternal deaths are not reported as pregnancy
surgery. The rate of complications was four times        related on death certificates. 64,65 Mortality from
higher in medical than in surgical abortions.59          events in the first half of pregnancy, which are
Another Finnish study of 18,000 women found an           unable to be linked to a birth certificate, are even
8% rate of surgery for medical abortion failures in      more difficult to detect, but reliable records-
the first trimester, and almost 40% surgery rate in      linkage studies from Finland document that 94% of
the second trimester.60 Finally, a meta-analysis of      abortion-related deaths are not documented as such
all available Mifepristone/Misoprostol studies           on the maternal death certificate. 66 This is
worldwide including over 47,000 women found a            particularly true for mental health related deaths
4.8% treatment failure rate, and 1.1% ongoing            that occur remote from the end of the pregnancy. 67
pregnancies.61                                           Maternal mortality encompasses all deaths
                                                         occurring while a woman is pregnant, and within a
                                                         year after the pregnancy ends. The authors of this
Data limitations of abortion complication and            misleading study are vocal abortion advocates who
abortion-related maternal mortality rates                knew how limited the CDC data drawn primarily
                                                         from death certificates was, because one of the
When considering the safety of abortion in the           authors was the former Chief of the CDC
U.S., it is important to realize that there are many     Abortion-Surveillance Branch.68 This study was
data limitations affecting the accuracy of these         clearly performed for propaganda purposes.69
statistics. Due to privacy concerns and payment
apart from insurance coverage for most abortions,        In the U.S., we don’t even accurately know the
there is no accurate central database that tracks this   number of abortions that occur. The estimated
procedure. As reported earlier, recent studies           number of abortions are only voluntarily reported
documenting apparent low complication rates have         to the CDC by state health departments. In 2017
been performed by high volume abortionists and           the states reported 638,169 abortions, but several
do not reflect the quality of all abortion providers     states, including the state with the largest number
in the U.S. The data regarding abortion related          (California), do not report any data. 70 By
maternal mortality is even more compromised. A           comparison, in 2017, the Guttmacher Institute,
widely reported study asserted that abortion is 14       which receives their information directly from the
times safer than childbirth by using four disparate      abortion providers, reported 926,000 abortions. 71
and difficult to calculate numbers, with non-            Only 28 states require abortion providers to report
comparable denominators. Abortion-related deaths         their complications, but there is rarely an enforced
were compared to the number of legal abortions.          penalty for noncompliance. Only 12 states require
Maternal deaths were compared to the number of           other physicians, coroners or emergency rooms to
live births.62 Only live births can be accurately        report abortion-related complications or deaths for
measured due to mandated birth certificates. Yet,        investigation, and frequently these other providers
only 2/3 of maternal deaths occur in association         are unaware of the reporting requirements. 72
with a live birth.63




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Multiple epidemiologic studies demonstrate that a          the only real barrier to over the counter distribution
woman is more likely to remain alive one year              of mifeprex. It would shortly follow that all
following term childbirth than following                   pharmacists will be pressured to distribute abortion
abortion.73,74 Finnish studies show that following         drugs, even if it violates their conscience. 89
an abortion, a woman was two to three times as
likely to die within a year,75,76 six times as likely to   There are efforts underway to force taxpayer
commit suicide,77 four times as likely to die from         payment of abortion even though surveys
an accident,78 and 14 times as likely to be                consistently demonstrate that most Americans
murdered.79 Danish studies and California                  oppose such actions. This could be accomplished
Medicaid studies demonstrate similar                       in several ways: through repeal of the Hyde
findings.80,81,82 It appears that a term birth is          Amendment which prohibits federal funding of
protective by reducing risk taking behavior,               abortion,90 increasing state Medicaid provision of
whereas an abortion may lead to increased social           abortion beyond the 15 states that will currently
disruption and increased risk-taking behavior              pay for this eugenic action,91 and legislative
increasing the likelihood of death within a year.          mandates for university health systems to provide
                                                           abortion pills to students.92

                                                     Although a physical examination and ultrasound 93
Medical abortion current advocacy
                                                     are standard care when evaluating a woman
Abortion advocates have changed their strategy.      seeking an abortion, and counseling can best be
Whereas once they claimed they wanted abortion       performed in a face-to-face interview, telemedicine
to be “safe, legal and rare,” they now favor         is also being promoted to women, especially those
immediate access and convenience, regardless of      who live remote from an abortion clinic. This will
whether it might be more dangerous for a woman       clearly decrease the safety of medical abortion for
or whether the law prohibits it. Recent              rural women if there is limited access to
recommendations by pro-choice advocates              emergency services.94 One survey of abortion
illustrate this concerning trend, as there have been providers found that 1/3 had seen women
coordinated efforts to promote the use of medical    experience complications from self-managed
abortions more widely.83 Abortion advocates have medical abortion, and only ½ felt it was safe.95
stated that state level restrictions on abortion     Nonetheless, a clinical trial of telemedicine
procedures place barriers to access for women who provision by Gynuity is ongoing in the U.S.96
desire abortion, and they warn that women will       Mail order provision of abortion pills is also sought
resort to unsafe illegal procedures if they cannot   by abortion advocates.97 A study on obtaining
readily access an abortion. 84 Conversely, they then abortion pills from international distributors found
recommend that women pursue medical abortions that no prescription or clinical information was
illegally if they encounter barriers. 85,86,87       required, the pills averaged two weeks to arrive,
                                                     analysis of the medications obtained demonstrated
In 2017, the American Civil Liberties Union sued     that some misoprostol pills contained only 15% of
the FDA for removal of the Risk Evaluation           the advertised amount of medication, the packages
Mitigation Strategy (REMS).88 The FDA REMS is often arrived damaged, and no instructions were



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contained in any of the packages. Nonetheless,         emergency care may not be readily available in
these pro-choice researchers concluded that it was     remote areas.
“feasible” for women to obtain medical abortion
pills on-line.98
                                                       Summary of Recommendations and
Because of the restrictions that govern                Conclusion
mifepristone prescriptions, sometimes abortion
advocates will recommend that women obtain the         The following recommendations are based on good
second abortion pill component only, because it is     and consistent scientific evidence (Level A):
more readily available. Misoprostol is also used to
                                                       1. Abortion with mifeprex and misoprostol has
treat ulcers, so it can be prescribed by any
                                                          four times the risk of complications as
physician. It is easily obtained over the counter in      compared with surgical abortion.
nearby countries such as Mexico. But
unfortunately, misoprostol alone is a very poor       While there is heated disagreement in the U.S.
abortifacient. Studies consistently demonstrate that  about whether elective induced abortion should be
one in four women will have a failed abortion that    legally permitted at all, presumably all would agree
requires surgical completion with the use of          that if abortion is allowed, it should be performed
misoprostol alone.99,100,101                          in such a way as to optimize safety for the woman
                                                      obtaining the abortion. Recent trends affecting the
                                                      provision of medical abortions demonstrate that the
Finally, we see promotion of so-called “menstrual
                                                      woman’s safety may no longer be a priority for
regulation.”102 This refers to providing the abortion
                                                      some abortion advocates. Medical abortions are
pill to women who report a late period without first
                                                      consistently documented to have four times the
ruling out pregnancy. This euphemism allows
                                                      complication rates of surgical procedures.
women to procure an abortion while avoiding the
                                                      However, due to decreasing number of abortion
“stigma” of abortion.
                                                      providers, the abortion industry is increasingly
                                                      encouraging women to choose this option, which
There are many potential negative consequences to
                                                      minimizes abortion provider time and risk. Vocal
these recommendations which ultimately
                                                      abortion advocates are aggressively using the court
demonstrate abortion advocates’ disregard for the
                                                      systems and pro-choice media sources to advocate
health of women. For example, underestimation of
                                                      for removal of safety restrictions on medical
gestational age may result in higher likelihood of
                                                      abortions.
failed abortion. Undetected ectopic pregnancies
may rupture leading to life-threatening               2. Post-marketing restrictions are necessary to
hemorrhages. Rh negative women may not receive            minimize the inherent dangers of abortion
prophylactic Rhogam resulting in isoimmunization          with mifeprex and misoprostol.
in future pregnancies. Potential for misuse and
coercion is high when there is no way to verify       The abortion industry is aggressively working for
who is consuming the medication and whether they complete over the counter access for mifeprex.
are doing so willingly. Sex traffickers, incestuous   They have also begun to advocate for illegal use of
abusers and coercive boyfriends will all welcome      mifepristone and misoprostol when restrictions are
more easily available medical abortion.               in place despite the demonstrated increase adverse
Catastrophic complications can occur, and             events that occur when these medications are used


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without close medical supervision. The FDA                     abortion provision abides by a standard different
REMS should be strengthened, not removed, in                   from other medical interventions. Medical
order to ensure that the risks of mifeprex abortion            providers who seek to advocate for their female
are minimized.                                                 patients’ best interests should become aware that
                                                               medical abortions result in complications far more
                                                               often than its proponents advertise.
The following recommendations are based on good
and consistent scientific evidence (Level B):

Abortion industry marketing interferes with                    References
research and adequate informed consent for
women.                                                         The MEDLINE database, bibliographies of relevant
                                                               guidelines, and AAPLOG’s internal sources were used to
Biased studies performed by those who profit from              compile this document with citations from 1985 to the
abortion provision seek to downplay the common                 publication date. Preference was given to work in English, to
                                                               original research, and to systematic reviews. When high-
nature of complications. A review of the history of
                                                               quality evidence was unavailable, opinions from members of
mifepristone’s FDA approval demonstrates that                  AAPLOG were sought.




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                                                                                                                                                                                       Original Research

                                                                                                                                                                                       Mifepristone Antagonization With
                                                                                                                                                                                       Progesterone to Prevent Medical Abortion
                                                                                                                                                                                       A Randomized Controlled Trial
                                                                                                                                                                                       Mitchell D. Creinin, MD, Melody Y. Hou, MD, MPH, Laura Dalton, DO, MBA, Rachel Steward, MD, MSc,
                                                                                                                                                                                       and Melissa J. Chen, MD, MPH
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                                                                                                                                                                                       OBJECTIVE: To estimate the efficacy and safety of                                     the primary outcome of continued gestational
                                                                                                                                                                                       mifepristone antagonization with high-dose oral pro-                                  cardiac activity at approximately 2 weeks (1561 day),
                                                                                                                                                                                       gesterone.                                                                            side effects after drug ingestion, and safety outcomes
                                                                                                                                                                                       METHODS: We planned to enroll 40 patients in                                          including hemorrhage and emergent treatment.
                                                                                                                                                                                       a double-blind, placebo-controlled, randomized trial.                                 RESULTS: We enrolled participants from February to
                                                                                                                                                                                       We enrolled patients at 44–63 days of gestation with                                  July 2019 and stopped enrollment after 12 patients for
                                                                                                                                                                                       ultrasound-confirmed gestational cardiac activity who                                 safety concerns. Mean gestational age was 52.5 days.
                                                                                                                                                                                       were planning surgical abortion. Participants ingested                                Two (one per group) voluntarily discontinued 3 days
                                                                                                                                                                                       mifepristone 200 mg and initiated oral progesterone                                   after mifepristone ingestion for subjective symptoms
                                                                                                                                                                                       400 mg or placebo 24 hours later twice daily for 3 days,                              (nausea and vomiting, bleeding). Among the remain-
                                                                                                                                                                                       then once daily until their planned surgical abortion                                 ing 10 patients (five per group), gestational cardiac
                                                                                                                                                                                       14–16 days after enrollment. Follow-up visits were                                    activity continued for 2 weeks in four in the pro-
                                                                                                                                                                                       scheduled 361, 761, and 1561 days after mifepristone                                  gesterone group and two in the placebo group. One
                                                                                                                                                                                       intake with ultrasonography and blood testing for                                     patient in the placebo group had no gestational
                                                                                                                                                                                       human chorionic gonadotropin and progesterone.                                        cardiac activity 3 days after mifepristone use. Severe
                                                                                                                                                                                       Participants exited from the study when they had their                                hemorrhage requiring ambulance transport to hospi-
                                                                                                                                                                                       surgical abortion or earlier for gestational cardiac
                                                                                                                                                                                                                                                                             tal occurred in three patients; one received proges-
                                                                                                                                                                                       activity absence, gestational sac expulsion, or
                                                                                                                                                                                                                                                                             terone (complete expulsion, no aspiration) and two
                                                                                                                                                                                       medically indicated suction aspiration. We assessed
                                                                                                                                                                                                                                                                             received placebo (aspiration for both, one required
                                                                                                                                                                                                                                                                             transfusion). We halted enrollment after the third
                                                                                                                                                                                       From the Department of Obstetrics and Gynecology, University of California,           hemorrhage. No other significant side effects were
                                                                                                                                                                                       Davis, Sacramento, Planned Parenthood Mar Monte, San Jose, and FPA
                                                                                                                                                                                       Women’s Health, Sacramento, California.
                                                                                                                                                                                                                                                                             reported.
                                                                                                                                                                                       Supported by the Society of Family Planning Research Fund.                            CONCLUSION: We could not estimate the efficacy of
                                                                                                                                                                                       The authors thank the staff and physicians at the study centers for assisting with
                                                                                                                                                                                                                                                                             progesterone for mifepristone antagonization due to
                                                                                                                                                                                       referral and conduct of the clinical trial.                                           safety concerns when mifepristone is administered with-
                                                                                                                                                                                       The findings and conclusions expressed in this article are those of the authors and   out subsequent prostaglandin analogue treatment. Pa-
                                                                                                                                                                                       do not necessarily reflect the views of Planned Parenthood Federation of America,     tients in early pregnancy who use only mifepristone may
                                                                                                                                                                                       Inc. or FPA Women’s Health.                                                           be at high risk of significant hemorrhage.
                                                                                                                                                                                       Each author has confirmed compliance with the journal’s requirements for
                                                                                                                                                                                                                                                                             CLINICAL TRIAL        REGISTRATION: ClinicalTrials.gov,
                                                                                                                                                                                       authorship.
                                                                                                                                                                                                                                                                             NCT03774745.
                                                                                                                                                                                       Corresponding author: Mitchell D. Creinin, MD, University of California,
                                                                                                                                                                                       Davis, Sacramento, CA; email: mdcreinin@ucdavis.edu.                                  (Obstet Gynecol 2020;135:158–65)
                                                                                                                                                                                                                                                                             DOI: 10.1097/AOG.0000000000003620
                                                                                                                                                                                       Financial Disclosure
                                                                                                                                                                                       Mitchell D. Creinin is a consultant for Danco Laboratories, providing medical
                                                                                                                                                                                       consultation for clinicians that contact Danco with questions regarding
                                                                                                                                                                                       mifepristone. Laura Dalton is an employee of Planned Parenthood. The other
                                                                                                                                                                                       author did not report any potential conflicts of interest.
                                                                                                                                                                                                                                                                             I n the United States, approximately 862,000 abor-
                                                                                                                                                                                                                                                                               tions occur per year, of which almost 40% occur
                                                                                                                                                                                                                                                                             using medical abortion.1 The treatment approved by
                                                                                                                                                                                       © 2019 by the American College of Obstetricians and Gynecologists. Published
                                                                                                                                                                                       by Wolters Kluwer Health, Inc. All rights reserved.                                   the U.S. Food and Drug Administration for medical
                                                                                                                                                                                       ISSN: 0029-7844/20                                                                    abortion is a combination of mifepristone and miso-



                                                                                                                                                                                       158     VOL. 135, NO. 1, JANUARY 2020                                                                           OBSTETRICS & GYNECOLOGY


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  prostol through 70 days of gestation.2 Mifepristone        high-dose oral progesterone in patients who used mif-
  acts as a competitive progesterone receptor antag-         epristone during early pregnancy.
  onist and promotes decidual necrosis to weaken
  implantation, enhances uterine sensitivity to pros-        METHODS
  taglandins, and softens the cervix.3 Accordingly,          We conducted this randomized, double-blind, pla-
  mifepristone has some activity to induce abortion          cebo-controlled trial at the University of California,
  when used alone. However, overall efficacy is gen-         Davis Medical Center. We approached patients who
  erally 80% or less, and these studies typically            had completed counseling and consent for a surgical
  included patients at less than 49 days of gestation.4      abortion and were 63 days of gestation or less about
  Medical abortion efficacy is improved significantly        study participation. Inclusion criteria were 18 years or
  with the addition of a prostaglandin analogue.4 Mif-       older, English-speaking, singleton pregnancy, and
  epristone followed in 24–48 hours by misoprostol           willingness to delay the abortion by approximately 2
  is 96–97% effective through 70 days of gestation;          weeks. Exclusion criteria were medical contraindica-
  however, as gestation advances from 49 to 70 days,         tions to medical abortion per the mifepristone U.S.
  complete abortion rate decreases and continuing            Food and Drug Administration label,2 an allergy to
  pregnancy rate increases.2 Approximately 0.3% of           mifepristone or progesterone, or a peanut allergy (on-
  patients at 49 days of gestation or less experience        label contraindication to oral progesterone). The Uni-
  a continuing pregnancy compared with 3.1% of               versity of California, Davis, Institutional Review
  patients at 64–70 days.2 A recent U.K. study of            Board approved this study and all participants gave
  patients who initiated medical abortion at 64–70           written study consent before beginning any study
  days found that 9 of 89 (10%) patients with continu-       procedures.
  ing pregnancies detected at follow-up opted to con-             The screening visit included obtaining study
  tinue the pregnancy.5                                      consent, recording demographic information, solicit-
       Case series have reported that some patients          ing baseline pregnancy symptoms (subjectively rated
  may change their minds about terminating their             as none, mild, moderate or severe), and inquiring
  pregnancies after ingesting mifepristone and before        whether they had used mifepristone or progesterone
  misoprostol treatment.6–8 Although an exact propor-        previously. Patients for whom transvaginal ultraso-
  tion is unknown, the best estimate is that fewer than      nography demonstrated gestational cardiac activity
  0.005% of patients who use mifepristone choose to          and a gestational age 44–63 days of gestation based on
  continue their pregnancies.9 Because mifepristone          Goldstein and Wolfson’s criteria10 could enroll that
  binds strongly to the progesterone receptor and has        day. Patients who were at less than 44 days of gesta-
  a long half-life,4 some scientists believe that this       tion at screening returned for enrollment, at which
  action is potentially irreversible. However, others        time transvaginal ultrasonography was repeated to
  have questioned this theory and believe that provid-       confirm gestational cardiac activity and gestational
  ing high doses of progesterone may antagonize the          age.
  effects of mifepristone when administered for                   Enrolled participants had blood drawn for human
  abortion.6                                                 chorionic gonadotropin (hCG) and progesterone
       No clinical trials have been performed to ade-        levels, then swallowed mifepristone 200 mg in front
  quately study antagonizing mifepristone with pro-          of an investigator. Study treatment (progesterone or
  gesterone treatment. Case series reported to date          placebo) was prepared by the University of California,
  have significant limitations, including using investiga-   Davis Investigational Drug Service by placing 38
  tional treatment (high-dose progesterone) after mife-      capsules of progesterone 200 mg or similar-
  pristone ingestion without consenting patients for this    appearing placebo capsules in opaque pill containers.
  experiment; incomplete reporting of outcomes; use of       The Investigational Drug Service could not over-
  varying progesterone doses, routes and durations; and      encapsulate the drugs due to product size. The
  lack of control groups to understand true efficacy.6–8     Investigational Drug Service performed the random-
  The largest case series (547 patients evaluated) re-       ization allocation using a computer-generated random
  ported a 48% continuing pregnancy rate using various       sequence in blocks of four, sequentially numbered the
  progesterone regimens, with the highest rates (64–         containers, and maintained the randomization log to
  68%) using various intramuscular or oral treatments.8      ensure drug allocation concealment until study com-
  To address these issues, we conducted a double-blind       pletion. Participants were instructed to start study
  placebo-controlled randomized trial to evaluate con-       treatment 24 hours after mifepristone ingestion by
  tinuing pregnancy rates, safety, and side effects of       taking two capsules twice daily for 3 days, then two



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  capsules once daily until the study exit visit. We chose   for continuous variables and Mann-Whitney U for
  this dosing regimen because it was the most effective      comparing median values.
  option previously described in a case series of
  mifepristone antagonization.8 Participants received        RESULTS
  a diary to document any side effects and capsule           We enrolled 12 patients from February 2019 to July
  intake. Participants also received the standard medical    2019 (Fig. 1). Patient characteristics are presented in
  abortion bleeding and side effect instructions distrib-    Table 1. Two patients exited the study voluntarily
  uted to medical abortion patients at the University of     related to side effects; both underwent suction aspi-
  California, Davis.                                         ration 3 days after mifepristone administration.
       Research staff contacted participants 24 hours        The first patient, in the placebo group, was 48 days
  after mifepristone administration to confirm the start     at enrollment and had a prior medical abortion.
  of study treatment. Follow-up visits were scheduled 3      She had increased anxiety about bleeding that
  (61), 7 (61), and 15 (61) days after mifepristone          started 2 days after mifepristone use and requested
  intake. Each visit included diary review, assessment       a suction aspiration. The second patient, in the pro-
  of symptoms or drug side effects, ultrasonography to       gesterone group, had three prior pregnancies and
  establish presence or absence of gestational cardiac       mild nausea and vomiting at baseline. She had
  activity, and blood testing for hCG and progesterone.      developed increasing nausea and vomiting after
  Additionally, a research coordinator independently         enrolling, resulting in dehydration that required
  counted unused study drug to maintain investigator         intravenous fluids as an outpatient. She took only
  blinding. The patient’s planned surgical abortion          two of her four treatment doses before requesting
  was scheduled concurrent with her last study visit.        a suction aspiration.
  Participants exited from the study when they had their           Overall, four of six patients in the progesterone
  surgical abortion, or earlier for gestational cardiac      group and two of six patients in the placebo group had
  activity absence, gestational sac expulsion, or medi-      continuing pregnancies at 2 weeks. Excluding the two
  cally indicated suction aspiration. At the final visit,    patients who did not finish treatment, these rates are
  participants were asked whether they knew what treat-      four of five and two of five, respectively. A detailed
  ment they received or looked up the capsules online        listing of individual patient characteristics and out-
  for identification.                                        comes is included in Appendix 1, available online at
       The primary outcome was continuing pregnancy          http://links.lww.com/AOG/B658.
  with presence of gestational cardiac activity after              Four pregnancies did not continue, including
  approximately 2 weeks (1561 days). Secondary out-          one patient at 48 days in the placebo group who had
  comes included expulsion rates over 2 weeks, change        no gestational cardiac activity 3 days after mifepris-
  in hCG and progesterone levels during treatment,           tone use and had an uneventful suction aspiration.
  study drug side effects, and safety outcomes (eg, hem-     Three other patients had severe bleeding requiring
  orrhage, emergency department visit, emergent suc-         ambulance transport to an emergency department.
  tion aspiration). Safety evaluations (adverse events       The first patient received progesterone treatment
  review) were performed by the principal investigator       after enrollment at 56 days of gestation. She
  after each patient completed the study and at research     reported no bleeding at the first follow-up visit 2
  review meetings every 2 weeks by the primary study         days postmifepristone. Shortly after her visit, she
  team. The principal investigator was responsible for       started having brisk bleeding and called an ambu-
  continued safety oversight and decisions to stop the       lance. Transvaginal ultrasound examination in the
  study for safety reasons.                                  emergency department found no gestational sac and
       We estimated a 68% continuing pregnancy rate          a heterogenous endometrial lining of approximately
  with oral progesterone treatment based on a report         1.5 cm. Heavy bleeding lasted about 3 hours over-
  using the same dosing after mifepristone administra-       all, and no intervention was needed. The second
  tion in early pregnancy, stating that 68% of patients      patient received placebo and enrolled at 60 days of
  had pregnancies that continued to 20 weeks of              gestation. She noted new mild bleeding at a follow-
  gestation or more.8 We also estimated that only 25%        up visit 2 days after mifepristone use. The following
  of patients receiving placebo would have continuing        day, she called an ambulance after onset of heavy
  pregnancies.11 Using 80% power and a50.05, 20 par-         vaginal bleeding. In the emergency department,
  ticipants per group were required.                         a study physician found significant heterogenous
       We performed an intention-to-treat analysis,          material in the uterine cavity on ultrasound exam-
  using Fisher exact test or x2 test as indicated, t test    ination with continued brisk bleeding, so a suction



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  Fig. 1. Participant flowchart of patients who received mifepristone 200 mg followed by progesterone for up to 2 weeks.
  Creinin. Mifepristone Antagonization. Obstet Gynecol 2019.



  aspiration was performed. Pathology demonstrated             units/mL) and 12.4 ng/mL (range 10.5–24.0 ng/mL),
  normal chorionic villi. The third patient also               respectively. Median baseline hCG and progesterone
  received placebo and enrolled at 60 days of gesta-           levels for the placebo group were 153,908 milli-
  tion. She noted new mild spotting at a follow-up             international units/mL (range 25,450–246,638 milli-
  visit 2 days after mifepristone use. The following           international units/mL) and 16.3 ng/mL (range 11.2–
  day, she called an ambulance after experiencing              18.9 ng/mL), respectively. In the progesterone group,
  hemorrhage. In the emergency department, a study             progesterone levels increased 240–1,010% within a few
  physician evaluated the patient, who had significant         days of starting treatment among patients with continu-
  brisk bleeding, hypotension, and tachycardia.                ing gestational cardiac activity at 2 weeks; the one
  Transvaginal ultrasound examination showed that              patient with hemorrhage demonstrated an increase of
  the gestational sac was still in the uterine cavity, so      only 45% despite being adherent to study drug
  an emergent suction aspiration was performed. This           instructions.
  patient’s hemoglobin level decreased in the emer-                 Table 2 describes side effects related to pregnancy
  gency department from 9.2 to 7.5 g/dL, and she               or treatment. One patient in the progesterone group
  received a 1-unit transfusion of packed red blood            noted the onset of severe nausea and vomiting shortly
  cells. At safety contacts 2 and 4 weeks later, the           after mifepristone intake that preceded progesterone
  patient reported no issues. We stopped enrollment            treatment; otherwise, no appreciable differences in
  for safety reasons after the third patient required          development of new severe side effects were identified
  emergent evaluation and a transfusion.                       between treatment groups. All patients experienced
       Baseline and follow-up serum hCG and progester-         some spotting (n58) or bleeding (n59) during treat-
  one levels are presented in Figures 2 and 3, respectively.   ment, except for the patient with the highest baseline
  Median baseline hCG and progesterone levels for the          progesterone level (24.1 ng/mL).
  progesterone group were 76,776 milli-international                Only two participants believed they received
  units/mL (range 21,062–126,647 milli-international           progesterone, of whom one did (continuing



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  Table 1. Characteristics at Enrollment for Patients Receiving Mifepristone and Randomized to
           Progesterone or Placebo Treatment

  Characteristic                                Total (N512)               Progesterone (n56)              Placebo (n56)

  Age (y)                                      27.3 (20.9–39.6)              29.8 (24.6–39.6)             24.1 (20.9–33.8)
  Gestational age (d)                            52.5 (47–61)                  49.5 (47–56)                  55 (48–61)
  BMI (kg/m2)                                  24.6 (19.0–52.3)              24.8 (19.0–36.4)             24.6 (22.7–52.3)
     Obese (30.0 or higher)                         4 (33)                        2 (33)                       2 (33)
  Race
     White                                          3 (25)                          0                          3 (50)
     Black or African American                      5 (42)                        4 (67)                       1 (17)
     Asian                                          4 (33)                        2 (33)                       2 (33)
  Ethnicity
     Hispanic or Latina                             2 (17)                        1 (17)                       1 (17)
  Marital status
     Never married                                  7 (58)                        3 (50)                       4 (67)
     Married                                        2 (17)                        1 (17)                       1 (17)
     Divorced or separated                          3 (25)                        2 (33)                       1 (17)
  Education level
     High school graduate                           2 (17)                           0                         2 (33)
     Some college                                   9 (75)                        5 (83)                       4 (67)
     College graduate                                1 (8)                        1 (17)                          0
  Gravidity                                        4 (1–12)                     4.5 (1–10)                   3.5 (1–12)
     More than 3 prior pregnancies                  7 (58)                        4 (67)                       3 (33)
  Parity                                           1 (0–6)                      1.5 (0–6)                    0.5 (0–3)
     Nulliparous                                    4 (33)                        1 (17)                       3 (33)
  Prior abortion                                    9 (75)                        4 (67)                       5 (83)
     More than 3 prior abortions                    4 (33)                        2 (33)                       2 (33)
  Past mifepristone use                            4 (733)                        1 (17)                       3 (33)
  Prior progesterone use                               0                             0                            0
  BMI, body mass index.
  Data are median (range) or n (%).



  pregnancy at 2 weeks) and one did not (hemorrhage               situation requires a full understanding of the potential
  requiring emergent aspiration). The remaining 10                benefits and risks. Previous case series reports do not
  patients were evenly split between placebo and                  describe outcomes for the one third or more patients
  unsure. None of the patients looked on the internet             without continuing pregnancies after progesterone
  to identify the study capsules they received.                   treatment.8 Three of 12 patients enrolled experienced
                                                                  very heavy bleeding resulting in ambulance transport
  DISCUSSION                                                      to an emergency department, a rate higher than re-
  Although the study sample size was powered to                   ported with medical abortion, in which 0.6% of pa-
  demonstrate a difference in continuing pregnancy                tients may have emergency department visits.12
  rates between progesterone and placebo treatment                Patients who use mifepristone for a medical abortion
  after mifepristone ingestion, we could not evaluate             should be advised that not using misoprostol could
  this outcome owing to stopping enrollment for                   result in severe hemorrhage, even with progesterone
  safety reasons. However, we can make a few global               treatment. We stopped the study because of these
  and important conclusions from this very small,                 complications and, thus, could not quantify the full
  randomized trial. First, patients who receive high-             extent of this risk. Because of the potential dangers
  dose oral progesterone treatment do not experience              for patients who opt not to use misoprostol after mif-
  side effects that are noticeably different than pla-            epristone ingestion, any mifepristone antagonization
  cebo. Although patients using progesterone did                  treatment must be considered experimental.
  report worsening of some pregnancy symptoms                          The study has multiple limitations, primarily the
  such as vomiting and tiredness, these issues were               inability to safely reach the enrollment goal to fully
  rarely severe.                                                  assess the primary outcome. Additionally, blinding for
       Second and most important are the lessons about            progesterone capsules is difficult and imperfect; how-
  treatment safety. Providing treatment in any medical            ever, we believe we maintained blinding because the



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                                                                  terone but no overall long-term difference in con-
                                                                  tinuing pregnancy exists?
                                                                      The context of this study is the question of
                                                                  whether a patient who has taken mifepristone 200
                                                                  mg for a medical abortion and decides not to proceed
                                                                  with misoprostol treatment will be less likely to expel
                                                                  the pregnancy if she receives high-dose progesterone
                                                                  as compared with no treatment. Although mifepris-
                                                                  tone can cause abortion when used by itself in early
                                                                  pregnancy, the exact rate is not clear because studies
                                                                  were small and limited primarily to pregnancies of
                                                                  49 days or less. Medical abortion today is used
                                                                  through 70 days of gestation. Additionally, a back-
                                                                  ground rate of pregnancy loss is present regardless of
                                                                  mifepristone treatment. In patients with gestational




  Fig. 2. Serum human chorionic gonadotropin (hCG) levels
  in patients who received mifepristone 200 mg followed by
  progesterone for up to 2 weeks. *Participants experiencing
  hemorrhage. †Participant experienced loss of gestational
  cardiac activity. ‡Value greater than 270,000 (upper limit of
  hCG test). §Discontinued related to side effects.
  Creinin. Mifepristone Antagonization. Obstet Gynecol 2019.


  patients enrolled had never used progesterone and none
  looked up the treatment to identify the drug. Of note,
  the variability in progesterone level among patients in
  the progesterone group may be explained by differential
  oral absorption of progesterone.13 Although one may
  postulate another route of progesterone administration
  might affect the outcome, the case reports in the litera-
  ture suggest similar continuing pregnancy rates after oral
  and intramuscular treatment.8
       Our study established outcomes at 2 weeks as
  a surrogate for ongoing pregnancy; as such, it does
  not capture those who may still experience preg-
  nancy loss more than 2 weeks after mifepristone
  exposure.14 Accordingly, the outcomes described
  may not reflect the ultimate rate of pregnancies that
  continue past 20 weeks of gestation. Progesterone
  levels declined from high peaks to levels near
  baseline with continued treatment for 2 weeks.
  These findings raise two opposing questions: First,
  if progesterone can prevent medical abortion after
  mifepristone, is treatment necessary for more than
  2 weeks? The case report from which the oral pro-               Fig. 3. Progesterone levels in patients who received mife-
                                                                  pristone 200 mg followed by progesterone (A) or placebo
  gesterone regimen for this study was based used the             (B) for up to 2 weeks. *Participants experiencing hemor-
  treatment through the “end of the first trimester.”8            rhage. †Participant experienced loss of gestational cardiac
  Second, do those treated with placebo just expel the            activity. ‡Discontinued related to side effects.
  pregnancy earlier than those who receive proges-                Creinin. Mifepristone Antagonization. Obstet Gynecol 2019.




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  Table 2. Side Effects* Noted During Follow-up of Patients in Early Pregnancy Receiving Mifepristone and
           Randomized to Progesterone or Placebo Treatment for Up to 2 Weeks

                                                                                                           Increased to Severe During
                         Reported at Baseline                   Increased From Baseline†                           Follow-up†
                     Progesterone            Placebo          Progesterone              Placebo            Progesterone              Placebo
                        (n56)                 (n56)              (n56)                   (n56)                (n56)                   (n56)

  Nausea                  4 (67)              5 (83)               2 (33)                 2 (33)                2 (33)                1 (17)
  Vomiting                2 (33)              3 (50)               4 (67)                   0                   2 (33)                  0
  Mastalgia               4 (67)              5 (83)               1 (17)                   0                     0                     0
  Tiredness               5 (83)              4 (67)               3 (50)                   0                     0                   1 (17)
  Mood                    4 (67)              5 (83)                 0                      0                   1 (17)                  0
    changes
  Reflux                  2 (33)              2 (33)               1 (17)                   0                     0                     0
  Dizziness               2 (33)              1 (17)                 0                      0                     0                     0
  Bleeding                  0                   0                  4 (67)                 4 (67)                1 (17)                3 (50)
  Spotting                1 (17)              1 (17)               3 (50)                 4 (67)                  0                     0
  Cramping                3 (50)              2 (33)               4 (67)                 5 (83)                  0                     0
  Data are n (%).
  * Subjectively assessed by participant as none, mild, moderate, or severe.
  †
    At any time during follow-up.


  cardiac activity demonstrated by ultrasonography at                         The dilemma that has been created around mife-
  6–10 weeks, 13.4% will spontaneously have an early                     pristone antagonization exists only because of the void
  pregnancy loss.15                                                      in high-quality research addressing the issue. For now,
       This study, although small, provides important                    such a treatment is experimental and should be offered
  insight into the safety of mifepristone antagoniza-                    only in institutional review board–approved human
  tion with progesterone during early pregnancy. We                      clinical trials to ensure proper oversight.
  should not dismiss mifepristone antagonization as
  impossible; fully understanding outcomes will serve                    REFERENCES
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  literature before this study is comprised of case                            us-2017. Accessed October 8, 2019.
  reports and series, which are not evidence of
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  efficacy and do not address safety.6–8 This level of                         https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/
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  reversed if they change their mind. In 2015, Arkan-                          mifepristone and vaginal misoprostol between 64 and 70 days’
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                                                                               mination after initiation of medical abortion with mifepristone. Eur
  introduced and passed legislation, although some                             J Contracept Reprod Health Care 2017;22:472–5.
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                                                                            8. Delgado G, Condly SJ, Davenport M, Tinnakornsrisuphap T,
  ent than any other medical treatment when consid-                            Mack J, Khauv V, et al. A case series detailing the successful
  ering clinical practice guidelines; laws should not                          reversal of the effects of mifepristone using progesterone. Issues
                                                                               Law Med 2018;33:3–13.
  mandate counseling or provision of any treatment
  when we do not fully understand treatment efficacy                        9. Grossman D, White K, Harris L, Reeves M, Blumenthal PD,
                                                                               Winikoff B, et al. Continuing pregnancy after mifepristone and
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  duration) and safety.                                                        review. Contraception 2015;92:206–11.



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                                                                         Authors’ Data Sharing Statement
      surement of early embryonic size as a means of assessing ges-
      tational age. J Ultrasound Med 1994;13:27–31.                      Will individual participant data be available (including
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      interruption using an antiprogesterone steroid: mifepristone       What data in particular will be shared? Data included
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                                                                         What other documents will be available? No.
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      Reprod 2011;26:1685–92.                                           http://links.lww.com/AOG/B659.




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                   COMMITTEE OPINION
                   Number 700 • May 2017                                               (Replaces Committee Opinion Number 611, October 2014)

                   Committee on Obstetric Practice
                   American Institute of Ultrasound in Medicine
                   Society for Maternal–Fetal Medicine
                   This Committee Opinion was developed by the American College of Obstetricians and Gynecologists’ Committee on Obstetric
                   Practice, in collaboration with members Christian M. Pettker, MD; James D. Goldberg, MD; and Yasser Y. El-Sayed, MD;
                   the American Institute of Ultrasound in Medicine’s liaison member Joshua A. Copel, MD; and the Society for Maternal–Fetal
                   Medicine.
                   This document reflects emerging clinical and scientific advances as of the date issued and is subject to change. The information
                   should not be construed as dictating an exclusive course of treatment or procedure to be followed.



  Methods for Estimating the Due Date
  ABSTRACT: Accurate dating of pregnancy is important to improve outcomes and is a research and
  public health imperative. As soon as data from the last menstrual period, the first accurate ultrasound exami-
  nation, or both are obtained, the gestational age and the estimated due date (EDD) should be determined,
  discussed with the patient, and documented clearly in the medical record. Subsequent changes to the
  EDD should be reserved for rare circumstances, discussed with the patient, and documented clearly in the
  medical record. A pregnancy without an ultrasound examination that confirms or revises the EDD before
  22 0/7 weeks of gestational age should be considered suboptimally dated. When determined from the methods
  outlined in this document for estimating the due date, gestational age at delivery represents the best obstetric
  estimate for the purpose of clinical care and should be recorded on the birth certificate. For the purposes of
  research and surveillance, the best obstetric estimate, rather than estimates based on the last menstrual period
  alone, should be used as the measure for gestational age.



  Recommendations                                                            • As soon as data from the last menstrual period
  The American College of Obstetricians and Gynecol-                           (LMP), the first accurate ultrasound examination, or
  ogists, the American Institute of Ultrasound in Medicine,                    both are obtained, the gestational age and the EDD
  and the Society for Maternal–Fetal Medicine make the                         should be determined, discussed with the patient,
  following recommendations regarding the method for                           and documented clearly in the medical record.
  estimating gestational age and due date:                                     Subsequent changes to the EDD should be reserved
    • Ultrasound measurement of the embryo or fetus in                         for rare circumstances, discussed with the patient,
       the first trimester (up to and including 13 6/7 weeks                   and documented clearly in the medical record.
       of gestation) is the most accurate method to establish                • When determined from the methods outlined in
       or confirm gestational age.                                             this document for estimating the due date, gesta-
    • If pregnancy resulted from assisted reproductive                         tional age at delivery represents the best obstetric
       technology (ART), the ART-derived gestational age                       estimate for the purpose of clinical care and should
       should be used to assign the estimated due date                         be recorded on the birth certificate. For the pur-
       (EDD). For instance, the EDD for a pregnancy                            poses of research and surveillance, the best obstetric
       that resulted from in vitro fertilization should be                     estimate, rather than estimates based on the LMP
       assigned using the age of the embryo and the date of                    alone, should be used as the measure for gestational
       transfer.                                                               age.
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      • A pregnancy without an ultrasound examination             tions in a group of women randomized to receive
        that confirms or revises the EDD before 22 0/7 weeks      routine first-trimester ultrasonography compared with
        of gestational age should be considered suboptimally      women who received only second-trimester ultrasonog-
        dated.                                                    raphy (5). A Cochrane review concluded that ultraso-
                                                                  nography can reduce the need for postterm induction
  Introduction                                                    and lead to earlier detection of multiple gestations (6).
                                                                  Because decisions to change the EDD significantly affect
  An accurately assigned EDD early in prenatal care is
                                                                  pregnancy management, their implications should be
  among the most important results of evaluation and
                                                                  discussed with patients and recorded in the medical
  history taking. This information is vital for timing of
                                                                  record.
  appropriate obstetric care; scheduling and interpretation
  of certain antepartum tests; determining the appropri-          Clinical Considerations in the First
  ateness of fetal growth; and designing interventions to         Trimester
  prevent preterm births, postterm births, and related
                                                                  Ultrasound measurement of the embryo or fetus in the
  morbidities. Appropriately performed obstetric ultraso-
                                                                  first trimester (up to and including 13 6/7 weeks of ges-
  nography has been shown to accurately determine fetal
                                                                  tation) is the most accurate method to establish or con-
  gestational age (1). A consistent and exacting approach
                                                                  firm gestational age (3, 4, 7–10). Up to and including
  to accurate dating is also a research and public health
                                                                  13 6/7 weeks of gestation, gestational age assessment
  imperative because of the influence of dating on inves-
                                                                  based on measurement of the crown–rump length (CRL)
  tigational protocols and vital statistics. This Committee
                                                                  has an accuracy of ±5–7 days (11–14). Measurements of
  Opinion outlines a standardized approach to estimate
                                                                  the CRL are more accurate the earlier in the first tri-
  gestational age and the anticipated due date. It is under-
                                                                  mester that ultrasonography is performed (11, 15–18).
  stood that within the ranges suggested by different stud-       The measurement used for dating should be the mean
  ies, no perfect evidence exists to establish a single-point     of three discrete CRL measurements when possible and
  cutoff in the difference between clinical and ultrasono-        should be obtained in a true midsagittal plane, with the
  graphic EDD to prompt changing a pregnancy’s due                genital tubercle and fetal spine longitudinally in view
  date. However, there is great usefulness in having a            and the maximum length from cranium to caudal rump
  single, uniform standard within and between institutions        measured as a straight line (8, 11). Mean sac diameter
  that have access to high-quality ultrasonography (as            measurements are not recommended for estimating
  most, if not all, U.S. obstetric facilities do). Accordingly,   the due date. Beyond measurements of 84 mm (corre-
  in creating recommendations and the associated sum-             sponding to approximately 14 0/7 weeks of gestation),
  mary table, single-point cutoffs were chosen based on           the accuracy of the CRL to estimate gestational age
  expert review.                                                  decreases, and in these cases, other second-trimester
                                                                  biometric parameters (discussed in the following sec-
  Background                                                      tion) should be used for dating. If ultrasound dating
  Traditionally, determining the first day of the LMP is          before 14 0/7 weeks of gestation differs by more than
  the first step in establishing the EDD. By convention, the      7 days from LMP dating, the EDD should be changed to
  EDD is 280 days after the first day of the LMP. Because         correspond with the ultrasound dating. Dating changes
  this practice assumes a regular menstrual cycle of              for smaller discrepancies are appropriate based on
  28 days, with ovulation occurring on the 14th day after         how early in the first trimester the ultrasound examina-
  the beginning of the menstrual cycle, this practice does        tion was performed and clinical assessment of the reli-
  not account for inaccurate recall of the LMP, irregulari-       ability of the LMP date (Table 1). For instance, before
  ties in cycle length, or variability in the timing of ovula-    9 0/7 weeks of gestation, a discrepancy of more than
  tion. It has been reported that approximately one half of       5 days is an appropriate reason for changing the EDD. If
  women accurately recall their LMP (2–4). In one study,          the patient is unsure of her LMP, dating should be based
  40% of the women randomized to receive first-trimester          on ultrasound examination estimates (ideally obtained
  ultrasonography had their EDD adjusted because of a             before or at 13 6/7 weeks of gestation), with the earliest
  discrepancy of more than 5 days between ultrasound              ultrasound examination of a CRL measurement priori-
  dating and LMP dating (5). Estimated due dates were             tized as the most reliable.
  adjusted in only 10% of the women in the control group                If pregnancy resulted from ART, the ART-derived
  who had ultrasonography in the second trimester, which          gestational age should be used to assign the EDD. For
  suggests that first-trimester ultrasound examination can        instance, the EDD for a pregnancy that resulted from in
  improve the accuracy of the EDD, even when the first            vitro fertilization should be assigned using the age of the
  day of the LMP is known.                                        embryo and the date of transfer. For example, for a day-5
        Accurate determination of gestational age can posi-       embryo, the EDD would be 261 days from the embryo
  tively affect pregnancy outcomes. For instance, one             replacement date. Likewise, the EDD for a day-3 embryo
  study found a reduction in the need for postterm induc-         would be 263 days from the embryo replacement date.



  2                                                                                               Committee Opinion No. 700
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  Clinical Considerations in the Second                                                     Gestational age assessment by ultrasonography in the
  Trimester                                                                           first part of the second trimester (between 14 0/7 weeks
  Using a single ultrasound examination in the second tri-                            and 21 6/7 weeks of gestation, inclusive) is based on a
  mester to assist in determining the gestational age enables                         composite of fetal biometric measurements and has an
  simultaneous fetal anatomic evaluation. However, the                                accuracy of ± 7–10 days (19–22). If dating by ultrasonog-
                                                                                      raphy performed between 14 0/7 weeks and 15 6/7 weeks
  range of second-trimester gestational ages (14 0/7 weeks
                                                                                      of gestation (inclusive) varies from LMP dating by
  to 27 6/7 weeks of gestation) introduces greater variability
                                                                                      more than 7 days, or if ultrasonography dating between
  and complexity, which can affect revision of LMP dating
                                                                                      16 0/7 weeks and 21 6/7 weeks of gestation varies by
  and assignment of a final EDD. With rare exception, if a
                                                                                      more than 10 days, the EDD should be changed to
  first-trimester ultrasound examination was performed,
                                                                                      correspond with the ultrasonography dating (Table 1).
  especially one consistent with LMP dating, gestational
                                                                                      Between 22 0/7 weeks and 27 6/7 weeks of gestation,
  age should not be adjusted based on a second-trimester
                                                                                      ultrasonography dating has an accuracy of ± 10–14 days
  ultrasound examination. Ultrasonography dating in the
                                                                                      (19). If ultrasonography dating between 22 0/7 weeks and
  second trimester typically is based on regression formulas
                                                                                      27 6/7 weeks of gestation (inclusive) varies by more than
  that incorporate variables such as
                                                                                      14 days from LMP dating, the EDD should be changed
   • the biparietal diameter and head circumference                                   to correspond with the ultrasonography dating (Table 1).
     (measured in transverse section of the head at the                               Date changes for smaller discrepancies (10–14 days) are
     level of the thalami and cavum septi pellucidi; the                              appropriate based on how early in this second-trimester
     cerebellar hemispheres should not be visible in this                             range the ultrasound examination was performed and on
     scanning plane)                                                                  clinician assessment of LMP reliability. Of note, pregnan-
   • the femur length (measured with full length of the                               cies without an ultrasound examination that confirms
     bone perpendicular to the ultrasound beam, exclud-                               or revises the EDD before 22 0/7 weeks of gestational
     ing the distal femoral epiphysis)                                                age should be considered suboptimally dated (see also
                                                                                      Committee Opinion 688, Management of Suboptimally
   • the abdominal circumference (measured in sym-                                    Dated Pregnancies [23]).
     metrical, transverse round section at the skin line,
     with visualization of the vertebrae and in a plane                               Clinical Considerations in the Third
     with visualization of the stomach, umbilical vein,                               Trimester
     and portal sinus) (8)
                                                                                      Gestational age assessment by ultrasonography in
  Other biometric variables, such as additional long bones                            the third trimester (28 0/7 weeks of gestation and
  and the transverse cerebellar diameter, also can play a                             beyond) is the least reliable method, with an accuracy of
  role.                                                                               ± 21–30 days (19, 20, 24). Because of the risk of redating



                 Table 1. Guidelines for Redating Based on Ultrasonography 
                     		                                                                                      Discrepancy Between
                     		                                                                                      Ultrasound Dating and
                     		                                                                                     LMP Dating That Supports
                     Gestational Age Range* Method of Measurement                                                   Redating

                     ≤13 6/7 wk                                               CRL
                      • ≤ 8 6/7 wk		                                                                                 More than 5 d
                      • 9 0/7 wk to 13 6/7 wk		                                                                      More than 7 d
                     14 0/7 wk to 15 6/7 wk                            BPD, HC, AC, FL                               More than 7 d
                     16 0/7 wk to 21 6/7 wk                            BPD, HC, AC, FL                               More than 10 d
                     22 0/7 wk to 27 6/7 wk                            BPD, HC, AC, FL                               More than 14 d
                     28 0/7 wk and beyond     †
                                                                       BPD, HC, AC, FL                               More than 21 d
                 Abbreviations: AC, abdominal circumference; BPD, biparietal diameter; CRL, crown–rump length; FL, femur length; HC, head
                 circumference; LMP, last menstrual period.
                 *Based on LMP.
                 †
                  Because of the risk of redating a small fetus that may be growth restricted, management decisions based on third-trimester
                 ultrasonography alone are especially problematic and need to be guided by careful consideration of the entire clinical picture and
                 close surveillance.




  Committee Opinion No. 700                                                                                                                           3
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  a small fetus that may be growth restricted, management            3. Savitz DA, Terry JW Jr, Dole N, Thorp JM Jr, Siega-Riz
  decisions based on third-trimester ultrasonography alone              AM, Herring AH. Comparison of pregnancy dating by last
  are especially problematic; therefore, decisions need to be           menstrual period, ultrasound scanning, and their combi-
  guided by careful consideration of the entire clinical pic-           nation. Am J Obstet Gynecol 2002;187:1660–6. [PubMed]
                                                                        [Full Text] 
  ture and may require close surveillance, including repeat
  ultrasonography, to ensure appropriate interval growth.            4. Barr WB, Pecci CC. Last menstrual period versus ultrasound
  The best available data support adjusting the EDD of a                for pregnancy dating. Int J Gynaecol Obstet 2004;87:38–9.
                                                                        [PubMed] 
  pregnancy if the first ultrasonography in the pregnancy is
  performed in the third trimester and suggests a discrep-           5. Bennett KA, Crane JM, O’Shea P, Lacelle J, Hutchens D,
  ancy in gestational dating of more than 21 days.                      Copel JA. First trimester ultrasound screening is effective
                                                                        in reducing postterm labor induction rates: a randomized
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